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             23-589
                                IN THE

   United States Court of Appeals
       for the Second Circuit
               ___________________________________________


                MICHAEL DAVIS-GUIDER,
                       Plaintiff-Appellant,

                             – v. –

   CITY OF TROY, RONALD FOUNTAIN, INDIVIDUALLY,
         DANIELLE COONRADT, INDIVIDUALLY,
         CHARLES MCDONALD, INDIVIDUALLY,
            TIM COLANERI, INDIVIDUALLY,
 Defendants-Cross-Claimants-Counter-Claimants-Appellees,

               RENSSELAER COUNTY,
           MICHAEL SIKIRICA, INDIVIDUALLY,
 Defendants-Cross-Claimants-Counter-Claimants-Appellees.

              _________________________________________

      On Appeal from the United States District Court
          for the Northern District of New York
             Case No. 1:17-cv-1290 (FJS/DJS)



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 2                             DEPOSITION of CHARLES McDONALD

 3

 4   UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF NEW YORK
 5   ----------------------------------------------X
     MICHAEL DAVIS-GUIDER,
 6
                               Plaintiff,
 7
     -against-                 Civil Case No.: 1:17-cv-01290
 8                             (FJS/DJS)

 9   CITY OF TROY, RONALD FOUNTAIN, Individually,
     DANIELLE COONRADT, Individually, CHARLES
10   MCDONALD, Individually, TIM COLANERI,
     Individually, ADAM R. MASON, Individually,
11   RENSSELAER COUNTY, MICHAEL SIKIRICA,
     Individually, and JOEL ABELOVE,
12   Individually,

13                      Defendants.
     ----------------------------------------------X
14

15        DEPOSITION of the Defendant, CHARLES McDONALD,

16 held on May 26, 2021, commencing at 9:35 a.m.,

17 being held virtually by Zoom, pursuant to Notice;

18 before Susan Florio, a Registered Professional

19 Reporter and Notary Public in and for the State of

20 New York.

21

22

23
        Susan Florio, RPR - Professional Reporting Service - (518)887-2733
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 2
     APPEARANCES:
 3

 4              BRETT H. KLEIN, ESQ., P.C.
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                New York, New York 10007
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                Albany, New York 12205
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12
                PATTISON, SAMPSON, GINSBERG & GRIFFIN, P.C.
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14                Charles McDonald, Tim Colaneri, and
                  Adam R. Mason
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                Troy, New York 12181-0208
16              BY: RHIANNON I. SPENCER, ESQ.

17

18

19

20

21

22

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 2                      S T I P U L A T I O N S

 3 IT IS HEREBY STIPULATED AND AGREED by and between

 4 the parties hereto, that all rights provided by the

 5 F.R.C.P. including the right to object to any

 6 question except as to the form, or to move to

 7 strike any testimony at this examination, are

 8 reserved, and, in addition, the failure to object

 9 to any question or move to strike testimony at this

10 examination shall not be a bar or waiver to make

11 such motion at, and is reserved for, the trial of

12 this action;

13 It is further stipulated and agreed that this

14 examination may be sworn to by the witness being

15 examined before a Notary Public other than the

16 Notary Public before whom this examination was

17 begun;

18 It is further stipulated and agreed that the filing

19 and certification of the original of this

20 examination are waived;

21               It is further stipulated and agreed that

22   the examining party will furnish the examined

23   party with a copy of the transcript free of charge.
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 2                       CHARLES McDONALD,

 3   having been first duly sworn/affirmed remotely by

 4   the notary public, was examined and testified as

 5   follows:

 6

 7   BY MR. KLEIN:

 8         Q.    Good morning, Mr. McDonald.               My name is

 9    Brett Klein and I represent Michael Davis in a

10    federal lawsuit pending in the Northern District

11    of New York.       The lawsuit concerns the, what he

12    contends was a malicious prosecution arising from

13    his arrest that surrounded the death of V.D.

14    which occurred on February 26th, 2015.                  We're

15    here today to ask you questions about your

16    knowledge of the facts and circumstances of this

17    case.

18               Do you understand that that's why you are

19    here today?

20         A.    Yes.     I do.

21         Q.    Is there any reason why you can't testify

22    fully and accurately today?

23         A.    No.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.    Other than today, have you answered

 3    any -- and other than speaking with counsel,

 4    which I don't want you divulging communications

 5    with counsel -- have you discussed this case or

 6    your involvement with anyone else?

 7         A.    I talked with the other people in the

 8    lawsuit just about what was in the lawsuit but

 9    nothing else.

10         Q.    Okay.     Who are those people?

11         A.    Detective Fountain, Ronald Fountain and

12    Danielle Coonradt.

13         Q.    Other than them and other than attorneys

14    representing you have you discussed the

15    allegations or any details of this incident with

16    anyone else?

17         A.    No.

18         Q.    Okay.     Other than today have you given

19    testimony in this matter?

20         A.    Other than today?          At the suppression

21    hearing, yeah.        That was it.

22         Q.    The suppression hearing about your

23    presence in sum or substance on the date of
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    incident in the juvenile room when Michael Davis

 3    was speaking and Sergeant Colaneri recorded some

 4    of the conversation, is that a fair summary of

 5    what you testified about?

 6         A.    Yes.

 7         Q.    Other than that, have you given testimony

 8    about any other manner in this case?

 9         A.    No.

10         Q.    Okay.     Have there been any internal

11    departmental review or any interviews with the

12    D.A.'s office or anyone else that we haven't

13    discussed that you've given in this case?

14         A.    Just prior to the suppression hearing,

15    that's it.

16         Q.    Okay.     Other than today have you ever

17    testified in a civil lawsuit deposition?

18         A.    Yes.

19         Q.    How many occasions?

20         A.    Twice.

21         Q.    And were they within the last five years

22    or when were they?

23         A.    No.    One was like 1989 maybe, '90,
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    somewhere around there and the other one was

 3    probably '94, '95, I'm not sure.

 4         Q.     And did those cases involve allegations

 5    against you in your capacity as a Troy police

 6    officer?

 7         A.     Yes.    They did.

 8         Q.     And do you know the dispositions of those

 9    cases, were they settled, did they go to trial,

10    were they dismissed?

11         A.     The first one I don't know.              I think it

12    was dismissed and the second one I was removed

13    from it, I wasn't involved.

14         Q.     Okay.    Did any of them involve

15    allegations that criticized, even if you

16    disputed, criticized or called into question your

17    veracity for truthfulness?

18         A.     No.

19         Q.     Have you testified in criminal courts

20    through your career?

21         A.     Yes.

22         Q.     Including grand jury, suppression

23    hearings, trials?         The answer is yes?
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         A.     Yes.

 3         Q.     How many times have you testified as a

 4    witness in criminal courts?

 5         A.     Oh, I have no idea.

 6         Q.     Is it hundreds or thousands or?

 7         A.     No.    Maybe 30, 40 times.          I don't know.

 8         Q.     Have you ever sued the Troy PD?

 9         A.     No.

10         Q.     This case was prosecuted by Joel Abelove.

11    Do you recall that?

12                        MR. FIRTH:       Form.

13         Q.     Joel Abelove subsequently indicted Ron

14    Fountain.      Were you aware of that?

15                        MR. FIRTH:       Objection.

16         A.     Yes.

17         Q.     Were you involved in that case at all

18    either as a witness either for the prosecution or

19    for the defense?

20         A.     No.

21         Q.     Did you have personal knowledge of those

22    events involving the taking of a 911 call off

23    police department headquarters for personal use
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    or campaign use?          Did you have knowledge of that

 3    even if you weren't implicated in the case?

 4                         MS. SPENCER:        Object to form.

 5         Q.     You can answer.

 6                         MS. SPENCER:        If you know.

 7         A.     Yes.     I had general knowledge of it, yes.

 8         Q.     What did you know about it?

 9                         MS. SPENCER:        Object to form.

10         A.     Just --

11         Q.     You can answer.

12         A.     Just what I had heard was that Detective

13    Fountain had gotten a copy of the video -- or the

14    recording and turned it over to a retired

15    officer.

16         Q.     And did you hear this through firsthand

17    witnesses or just kind of talk in the office or

18    from Fountain?         Who did you hear it from?

19                         MS. SPENCER:        Object to form.         You

20                can answer.

21                         THE WITNESS:        Okay.

22         A.     Detective Fountain and then -- that was

23    after everything.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Okay.     How about before everything?               Did

 3    you -- like was it your understanding that

 4    Fountain, what he did was against the law?

 5                         MS. SPENCER:        Object to the form.

 6                I'm going to direct him not to answer at

 7                this point on that.

 8                         MR. KLEIN:       Okay.

 9         Q.     Well, to your knowledge, did Fountain

10    have any permission or authority to take that

11    recording off of the department grounds and give

12    it to someone else?

13                         MS. SPENCER:        Object to form.         I'm

14                going to direct him not to answer that.

15                         MR. KLEIN:       Okay.     I don't think

16                that's a proper objection, but we'll mark

17                it for a ruling.

18

19                   *COUNSEL REQUESTS COURT RULING*

20

21         Q.     And then do you recall that Joel Abelove

22    was subsequently indicted?

23         A.     Yes.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Was he indicted -- did that involve the

 3    Troy PD?

 4         A.     I'm sorry?

 5         Q.     Did Troy PD bring charges against him or

 6    was it some other department?

 7                         MS. SPENCER:        Object to form.         If

 8                you know.

 9         A.     I think it was the Attorney General's

10    Office.      I'm not sure.

11         Q.     Okay.     So, my question was generally were

12    you involved in that case at all?

13         A.     No.

14         Q.     Okay.     So, in terms of today's deposition

15    it's just important that you continue to do what

16    you are doing.         Let me finish a question, even if

17    you know the answer, and then leave a little bit

18    of a space before you give an answer so Ms.

19    Florio, the reporter, can take a clean record

20    today.     Okay?

21         A.     Okay.

22         Q.     If you don't understand a question as I

23    phrase it or as I ask it, you have to let me
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    know.

 3         A.     Okay.

 4         Q.     If you don't let me know and you give an

 5    answer it will be assumed that you understood it.

 6    Okay?

 7         A.     Okay.

 8         Q.     And, finally, if you need a break, just

 9    let us know.        We'll just ask that you answer any

10    pending question before we take a break.

11         A.     Okay.

12         Q.     And, also, you should continue to answer

13    with verbal responses rather than with gestures

14    or nods of the head.           Again, so the reporter can

15    take everything down.            Okay?

16         A.     Okay.

17         Q.     So.    Walk me through your conversations

18    with Ron Fountain and Danielle Coonradt about the

19    allegations in this case.              Where did you speak to

20    them, what did you discuss and what was said?

21         A.     On the phone just basically about the

22    pending lawsuit of where this stuff came from,

23    the accusations basically.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Okay.     And so let's go one at a time.

 3    How many times did you speak with Ron Fountain

 4    about the accusations?

 5         A.     I don't know.         A few.

 6         Q.     Okay.     When was the most recent?

 7         A.     Last week.

 8         Q.     Was it before or after his deposition?

 9         A.     After.

10         Q.     Okay.     And did you ask him how it went,

11    what he was asked, things like that, or did he

12    tell you that?

13         A.     He just told me that he was here for

14    three hours and, you know, you brought up his

15    indictment.

16         Q.     Okay.

17         A.     That's about it.

18         Q.     Okay.     Did he talk to you about the

19    substance of the accusations in this case, that

20    he was asked about being told or believing that

21    ribs lacerated the liver in this case and he was

22    wrong about that?

23                         MR. FIRTH:       Objection to form.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2                         MS. SPENCER:        Object to form.

 3         A.     No.

 4         Q.     Okay.     Did he raise any other issues

 5    about this case, not his indictment but anything

 6    about the case of V.D.?

 7         A.     No.

 8         Q.     Okay.     How about in prior conversations,

 9    what did he inform you about the case, did he

10    identify any issues or red flags that either were

11    known to you all at the time or have since been

12    identified since the case resulted in a not

13    guilty verdict?

14                         MR. FIRTH:       Objection to form.

15                         MS. SPENCER:        Object to form.

16         A.     No.

17         Q.     Okay.     So, what was discussed?

18         A.     Just like I said the merits of the

19    lawsuit.      That was it.

20         Q.     Okay.     And what was discussed in that

21    regard?

22         A.     Just how -- I don't believe they have the

23    stuff that's in there.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Okay.     What don't you believe

 3    specifically?

 4         A.     Without looking at it, I mean, the

 5    fabricated things and we conspired and all this.

 6    It never happened.

 7         Q.     Okay.     Were you aware of or did you ever

 8    read the People versus Adrian Thomas involving

 9    Ron Fountain and Adam Mason's interrogation?                      Did

10    you ever review that or hear about that decision?

11                         MS. SPENCER:        Object to form.         You

12                can answer.

13         A.     I heard about it, yes.

14         Q.     Did you hear that the court found that

15    they violated due process in coercing a

16    confession?

17                         MS. SPENCER:        Object to form.         You

18                can answer.

19         A.     Yes.

20         Q.     Okay.     So, have you ever heard -- other

21    than that decision, have you ever witnessed

22    misconduct by any other -- I'm saying you

23    witnessed in that case, but have you ever heard
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    of misconduct occurring or have you witnessed any

 3    misconduct by colleagues in the Troy PD

 4    throughout your career?

 5                         MS. SPENCER:        Object to form.         You

 6                can answer if you know.

 7         A.     No.

 8         Q.     Okay.     Is there anything else factually

 9    that you discussed with Ron Fountain other than

10    that you don't believe the allegations are true?

11         A.     No.

12         Q.     Okay.     What about Danielle Coonradt, how

13    many times did you speak with her and what was

14    discussed?

15         A.     A few times.        Same thing.        She asked, she

16    couldn't understand why she was being named in a

17    lawsuit.      That's about it.

18         Q.     Okay.     You testified at the pretrial

19    suppression hearing, correct?

20         A.     Yes.

21         Q.     But you didn't testify at trial, correct?

22         A.     Correct.

23         Q.     Were you a potential witness at trial to
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    your knowledge or was there no plan that you were

 3    aware of for you to testify at trial?

 4         A.     I don't think there was a plan for me to

 5    testify.

 6         Q.     Were you present for trial prep with Ron

 7    Fountain or anyone else or any meetings with the

 8    D.A. for preparation of trial even if you weren't

 9    going to be a witness?

10         A.     Not that I recall.

11         Q.     Did you follow the trial as it was

12    ongoing?

13         A.     No.

14         Q.     Were you Ron Fountain's partner in this

15    case?

16         A.     Yes.

17         Q.     Were you his partner at the time he

18    testified at trial, because I think he had

19    resigned by that point, right?

20                         MS. SPENCER:        Object to form.

21                Retired.

22         Q.     Were you his partner in this case at the

23    time of trial?
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         A.     I believe so.         Yes.

 3         Q.     So, would it have been your practice or

 4    did you, in fact, attend trial in support of your

 5    partner or would he have gone on his own?

 6         A.     I'd have to know when the trial was to be

 7    honest, which I don't recall.

 8         Q.     It was in October -- I'm sorry, August of

 9    2016.

10         A.     I was already retired so, no, I wouldn't

11    have been there.

12         Q.     Okay.     When did you retire?

13         A.     February of 2015.

14         Q.     Okay.     Well, this incident occurred on

15    February 26th of 2015.

16         A.     '16.     I'm sorry.

17         Q.     Okay.     So you retired the following

18    February.       Under what circumstances did you

19    retire?

20         A.     It was time to retire.

21         Q.     Okay.     It was time to go.

22         A.     Yeah.

23         Q.     Well, Ron Fountain had a -- he retired
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    around that time as well.              Is that your

 3    understanding?

 4         A.     Yes.

 5         Q.     He retired with I believe a pending or

 6    recently pending criminal case involving his

 7    conduct at the police department.                 Did you resign

 8    under any similar circumstances, any charges or

 9    disciplinary things pending against you?

10         A.     No.    I didn't.

11                         MS. SPENCER:        Object to form.         You

12                can answer.

13         Q.     Did the timing of your retirement have

14    anything to do with his retirement?

15         A.     I'm sorry?

16         Q.     Did the timing of your retirement have

17    anything to do with the timing of Ron Fountain's

18    retirement?

19         A.     No.

20         Q.     It was just your time separate and part?

21         A.     I had another job lined up.

22         Q.     Okay.     So, walk us through.            We've never

23    met before, right?
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         A.     Correct.

 3         Q.     If you could just walk me through your

 4    career at the Troy PD and if you served in any

 5    other law enforcement or military agency, walk us

 6    through that as well.            So, other than a Troy

 7    police officer have you worked with any other law

 8    enforcement agency?

 9         A.     Yes.     I have.

10         Q.     Which ones?

11         A.     I started off with the sheriff's

12    department, county sheriff's department.                    I went

13    to the Town of North Greenbush and I came to the

14    City of Troy.

15         Q.     What year did you start in corrections?

16         A.     1988.

17         Q.     Which correction department was that?

18         A.     The Rensselaer County.

19         Q.     Okay.     And when you worked there did Ron

20    Fountain work there as well?

21         A.     He did.

22         Q.     Is that where you guys met or did you

23    know him before that?
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         A.     No.    That's where we met.

 3         Q.     Okay.     And did you work there roughly the

 4    same time as him or did you work some other time?

 5         A.     The same shift you mean or?

 6         Q.     Did you work there during the same year

 7    or years as Ron Fountain?

 8         A.     Yes.

 9         Q.     Okay.     I'm sorry.       Did you say that's

10    where you met him or you knew him before?

11         A.     No.    That's where we met.

12         Q.     Okay.     And did you guys become friends

13    through that job?

14         A.     Yes.

15         Q.     Okay.     And then when did you leave

16    corrections for Greenbush?

17         A.     I left there in October of '92.

18         Q.     Okay.     And why did you leave?

19         A.     I went to the North Greenbush.

20         Q.     Was it like a better job or better --

21         A.     Yeah.     Yeah.

22         Q.     Okay.     And how long were you with

23    Greenbush for before you left for Troy PD?
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         A.     Approximately one year.

 3         Q.     And why did you make that move?

 4         A.     Because I wanted to work at Troy PD.

 5         Q.     Okay.     And when you got to Troy PD was

 6    Ron Fountain there or did he arrive there around

 7    the same time as well?

 8         A.     No.    We both got hired the same day.

 9         Q.     Okay.     And did you have any other friends

10    or colleagues that were looking, that moved to

11    Troy at the same time or -- in other words, did

12    you and Ron plan this or was it just coincidental

13    that you were looking at the same career path?

14         A.     No.    We were both looking to get on at

15    Troy.

16         Q.     Okay.     Anyone else in that group or just

17    you and Ron?

18         A.     No.    There were three other people that

19    were hired I believe with us.

20         Q.     Anyone else with involvement in this

21    case, involving V.D.?

22         A.     No.

23         Q.     And you had training in the New York
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    State Academy before you started corrections,

 3    correct?

 4         A.     Not before I started corrections.                 I had

 5    training for corrections and then when I went

 6    to -- left corrections and went to the road as a

 7    deputy I went to the police academy.

 8         Q.     Okay.     And did you go through the academy

 9    with Ron Fountain?

10         A.     No.

11         Q.     Okay.     And then that was for Greenbush?

12         A.     No.    That was for the sheriff's

13    department.

14         Q.     Sheriff's department.            I see.      And then

15    did you have any additional academy training

16    before be coming a police officer?

17         A.     Yes.     I went to the corrections academy.

18         Q.     And did that give you police officer

19    training as well?

20         A.     No.

21         Q.     Okay.     So, other than corrections academy

22    did you ever have police officer academy

23    training?
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         A.     Just when I went from being in

 3    corrections to the road patrol.                That's when I

 4    went to the academy.

 5         Q.     Got it.      And how long was that for?

 6         A.     Six months.

 7         Q.     Okay.     And then from when you went from

 8    there to Troy, you didn't have any additional

 9    academy training?

10         A.     No.    I -- lateral over.

11         Q.     And walk us through your commands with

12    Troy.     Were you patrol for a series of years and

13    then you became a juvenile squad officer or

14    something else?         If you could take us through

15    your assignments.

16         A.     I was patrol for I don't know how many

17    years and then I wound up going to community

18    policing as a school resource officer for a year.

19    Then I went back to community policing and I

20    stayed there until I went to the detective

21    bureau.

22         Q.     Okay.     And were you in the detective

23    bureau in February of 2015?
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         A.     Yes.

 3         Q.     And were you in the detective bureau

 4    until the time you retired?

 5         A.     Yes.

 6         Q.     Okay.     What was your rank, were you a

 7    detective or technically a police officer?

 8         A.     Just patrolman.

 9         Q.     Okay.     Were you referred to as detective

10    because you were in the detective bureau even

11    though your rank was patrolman?

12         A.     Yes.

13         Q.     Okay.     In connection with the

14    investigation and arrest and prosecution

15    surrounding the death of V.D. did you prepare any

16    documents?

17         A.     I wrote a few notes I know.               As far as

18    other paperwork I'd have to look to see.                    I don't

19    believe so.

20         Q.     And nothing you reviewed before this

21    deposition?

22         A.     Just a couple of the notes that I had

23    taken and my testimony for the suppression
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    hearing.

 3         Q.     Okay.     You have the notes there with you

 4    today?

 5         A.     I have my suppression hearing notes.

 6         Q.     Do you have the notes that you talked

 7    about?

 8         A.     They would be in the file.

 9                         MR. KLEIN:       Okay.     Off the record.

10                         (Whereupon, a discussion was held

11                off the record.)

12                         MR. KLEIN:       Back on the record.

13         Q.     Other than looking at your testimony, did

14    you look at the handwritten notes to refresh your

15    recollection for this deposition?

16         A.     I did.

17         Q.     And did you review or look at anything

18    else?

19         A.     No.    That was -- that and the paper from

20    the autopsy.

21         Q.     Did you listen to the -- what paper from

22    the autopsy, the sign-in sheet?

23         A.     The sign-in sheet.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Did you listen to the recording of the,

 3    or watch the video from the interview that you

 4    testified about at the suppression hearing?

 5         A.     Not recently, no.

 6         Q.     Okay.     So, directing your attention to

 7    February 26th, 2015, how did you become involved

 8    in the investigation of the death of V.D.?

 9         A.     We were dispatched up to the address for

10    an unresponsive child.

11         Q.     And when you say "we," who are you

12    referring to?

13         A.     Patrol and then Detective Fountain and

14    myself.

15         Q.     Okay.     Were you on duty at the time or

16    were you notified off duty because there was a

17    death?

18         A.     No.    We were on duty.

19         Q.     Okay.     And did you hear the 911 call or

20    were you just made aware of it and you responded

21    after someone told you about it?

22         A.     I believe we were called and told to

23    respond up there.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Okay.     And did you go there with

 3    Detective Fountain?

 4         A.     I did.

 5         Q.     And walk us through what you observed

 6    when you got there?

 7         A.     Mr. Davis was outside.            His girlfriend,

 8    Rebecca was outside.           We went in.        They brought

 9    us in, showed us where the baby was.                  Prior to

10    being taken by the ambulance and everything and

11    we asked what had happened and we asked if they

12    would come down to the station and talk to us.

13         Q.     Was the baby, the decedent, V.D., was she

14    still there when you got there?

15         A.     No.

16         Q.     Okay.     And so you asked Michael and

17    Rebecca to go to headquarters with you?

18         A.     Correct.

19         Q.     And whose determination was that?

20         A.     Detective Fountain's.

21         Q.     Okay.     And was it -- I think we've heard

22    that you said also that he was the -- was he the

23    lead detective in this case?
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         A.     Yes.

 3         Q.     Okay or was it considered "his case"?

 4         A.     I guess --

 5         Q.     Well, you tell me.           I just want to know

 6    what the terminology was.              Was it assigned to

 7    Detective Fountain or to you both?

 8         A.     To both of us.

 9         Q.     Okay.     And did he -- was he senior to you

10    or did he take a lead role for some particular

11    reason even if he wasn't senior?

12         A.     Well, I was senior as far as seniority

13    goes, but he had been in the detective bureau for

14    a year, few years and I was new to it.

15         Q.     Okay.     How new to it were you?

16         A.     I was only up there for a few months.

17         Q.     Had you worked on any homicides to date

18    or was this the first one that you had been

19    assigned to work on?

20         A.     In the detective bureau?

21         Q.     Yes.

22         A.     I believe that would have been the first

23    one.      I'm not positive.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Okay.     Did you work on any after that

 3    until your retirement or was this the only case

 4    involving an alleged homicide that you were

 5    involved with?

 6         A.     I'd have to -- I'm not positive.                 I'm

 7    sure I did.

 8         Q.     Nothing that stands out though other than

 9    this?

10         A.     No.

11         Q.     Okay.     So, was Danielle Coonradt at the

12    location when you got there?

13         A.     That I don't recall.

14         Q.     Do you recall anyone else being there

15    other than Mike Davis and Rebecca Parker?

16         A.     I know that Rebecca's friend, Russell

17    Brown, was there and I don't know who else was

18    there.

19         Q.     Okay.

20         A.     I don't recall.

21         Q.     Do you remember anything else about the

22    location, whether what you observed or anything

23    that anyone said?
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         A.     No.

 3         Q.     Did you have any knowledge as to what

 4    happened at that point or any suspicion about

 5    what happened, whether this was criminality or

 6    some other death like potentially a natural

 7    death?

 8                         MS. SPENCER:        Object to form.         You

 9                can answer.

10         A.     No.    We hadn't.       I had no idea.

11         Q.     Okay.     Prior to that time had you ever

12    seen or heard of Mike Davis?

13         A.     Actually, I did see him a couple weeks

14    before that at Stewart's.

15         Q.     Okay.     And can you describe that

16    interaction or just what you observed?

17         A.     Well, I was getting coffee at Stewart's

18    with another officer and the other officer

19    started talking to him about how tall he was and

20    just talking about basketball and he talked about

21    how he was traveling and playing basketball.

22    That was the extent of it.

23         Q.     So, did he just stand out because of his
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    size and he was a basketball player?

 3         A.     Correct.

 4         Q.     Okay.     Did you follow college basketball

 5    at that time?

 6         A.     No.    I don't follow basketball at all.

 7         Q.     Okay.     Who was the other officer you were

 8    with that spoke with him?

 9         A.     I'm not positive who it was.

10         Q.     Okay.     Other than that running into him

11    at Stewart's, did you ever interact with him or

12    hear anything about him other than that prior to

13    the incident?

14         A.     No.

15         Q.     Okay.     Other than what you learned

16    through your involvement in the investigation of

17    this case, have you had any dealings or heard

18    anything about him since the incident?

19         A.     No.

20         Q.     Okay.     So, when you then took Mike Davis

21    and Rebecca to headquarters, were they under

22    arrest or otherwise in custody when you did that?

23         A.     No.    They weren't.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Okay.     And how did that, logistically how

 3    did that play out?           Did you take Mike with Ron

 4    Fountain and someone else took Rebecca, or did

 5    they all go together?

 6         A.     Yes.     We drove with Mr. Davis down to the

 7    station, myself and Ron Fountain.                 I believe

 8    Russell Brown drove Rebecca down there.

 9         Q.     Okay.     And did you know Russell Brown

10    before this date?

11         A.     Oh, yeah.

12         Q.     How did you know him?

13         A.     He's from Troy.         We see him all the time,

14    taken reports for him.

15         Q.     Okay.     Did you have any thoughts of him

16    either way, was he a good guy, a credible guy, a

17    bad person or anything else?

18         A.     No thoughts on him whatsoever.

19         Q.     Okay.     Did you ever have any dealings

20    with him as law enforcementwise other than taking

21    reports, was he ever arrested or brought into

22    custody?

23         A.     I believe I wrote him tickets.                I don't
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    think I've ever arrested him.

 3         Q.     Okay.     Do you remember anything he said

 4    to you that day?

 5         A.     No.

 6         Q.     Okay.     And so what happened next, do you

 7    recall the ride to the headquarters?

 8         A.     Yup.     I rode in the back seat.             He rode,

 9    Michael road in the front.              We walked him into my

10    office, which is in the back part of the police

11    station, and that's -- he sat down in there.

12         Q.     Do you remember anything he said during

13    the car ride?

14         A.     No.

15         Q.     Do you have any independent recollection

16    of this incident today other than what you read

17    in your testimony; in other words, would you even

18    remember this, you know, five to six years later

19    or is what you recall just what you know from

20    your testimony and any paperwork?

21         A.     Most of it is from what I read in my

22    testimony.

23         Q.     Okay.     So, is it that he may have said
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    something in the car ride, you just don't

 3    remember it today, or is it that nothing was said

 4    during the car ride?

 5         A.     I don't know if he said anything in the

 6    car ride.

 7         Q.     Okay.     Do you remember his demeanor in

 8    the car ride?

 9         A.     No.

10         Q.     Okay.     And so what happened when you got

11    to headquarters?

12         A.     We sat in my office and then Detective

13    Fountain left the office and then I believe they

14    got a search warrant and was going up to the

15    house.     Actually --

16         Q.     Who got a search warrant?

17         A.     -- I'm sorry.         To the hospital first.

18         Q.     Okay.     So, you went to the hospital --

19    I'm sorry.        Can you say it again?

20         A.     Detective Fountain went up to the

21    hospital.       I stayed in my office with Mr. Davis.

22         Q.     Right.      And so looking at, I believe from

23    your testimony you said you kind of just hung out
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    with him and talked, asked him about his

 3    basketball career, where he talked about that and

 4    things that were not related to V.D.                  Is that

 5    right?

 6         A.     Correct.

 7         Q.     Can you just describe anything else that

 8    was said that you can recall other than small

 9    talk?

10         A.     I know he talked a little bit about his

11    upbringing.        What he had said I don't recall, but

12    that was about it.

13         Q.     Okay.     Did you get any of the

14    circumstances of how V, how he discovered V

15    unresponsive or anything he did after he

16    discovered her unresponsive?

17                         MS. SPENCER:        Object to form.         You

18                can answer.

19         A.     No.

20         Q.     Okay.     So, what was your role at that

21    point, was it to like, for lack of a better word

22    babysit him while your colleagues did some

23    digging to see, try to find out more information
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    about what happened?

 3                         MS. SPENCER:        Object to form.         You

 4                can answer.

 5         A.     Yes.

 6         Q.     Okay.     Would you call it babysitting, I

 7    mean, or what was your role?

 8         A.     Sit with him.

 9         Q.     What?

10         A.     Just to sit with him.

11         Q.     Sit with him.         Right.     Keep him occupied

12    if he stays there.           He had a right to leave, but

13    you weren't offering that to him?

14                Is it fair to say he had a right to

15    leave, but you weren't like volunteering that for

16    him?      If he wanted to go he could have, but you

17    weren't like opening the door for him to go,

18    correct?

19                         MS. SPENCER:        Object to the form.

20                If I object to form you can still answer.

21         A.     Yes.     He could have left.

22         Q.     But your job was to try to keep him there

23    voluntarily to the extent possible, correct?
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 1    [CHARLES McDONALD - By Mr. Klein]

 2                         MS. SPENCER:        Object to form.

 3         A.     Correct.

 4         Q.     Okay.     And while Fountain was at the

 5    hospital were you getting status reports from him

 6    from time to time or were you just waiting?

 7         A.     I believe I was just waiting.

 8         Q.     Okay.     What is the next thing you recall

 9    other than making small talk with Mike Davis?

10         A.     I remember they came back down and then

11    Sergeant Colaneri and Detective Fountain came

12    back in the office and then Detective Sergeant

13    Colaneri had a sheet that he was reading off of

14    asking questions.

15         Q.     And what was that sheet?

16         A.     I don't know to be honest with you.

17         Q.     Have you inquired since then up until

18    today even if you didn't know at the time?

19         A.     No.

20         Q.     Did it seem like a medical sheet or notes

21    or do you not know?

22         A.     I want to say it was almost like a CPS

23    form.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     And what kind of things was Colaneri

 3    saying?

 4         A.     Oh, I don't recall that.

 5         Q.     Okay.     What was the nature of the

 6    conversation?

 7         A.     Just back and forth.

 8         Q.     About what though, was it known to

 9    Colaneri and Fountain that V had passed away at

10    that point and did they let Mike know?

11         A.     That I don't know.

12         Q.     Okay.     So, what was the back and forth

13    about?

14         A.     It was the questionnaire.

15         Q.     Okay.     But was it about what happened in

16    the home that morning when V was discovered

17    unresponsive in sum and substance?

18         A.     I don't recall.

19         Q.     Okay.     So, what do you recall?             How long

20    did that back and forth or that questionnaire

21    discussion go on for?

22         A.     Maybe ten minutes.           Maybe.     I don't know.

23         Q.     Okay.     And what do you recall next?
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         A.     I believe they went and got a search

 3    warrant after that.

 4         Q.     When you say "they," is that Fountain and

 5    Colaneri or anyone else?

 6         A.     Yes.

 7         Q.     Okay.     Were you not involved in that?

 8    Were you still sitting with Davis?

 9         A.     I believe I still sat with Mr. Davis at

10    that time.

11         Q.     Okay.     And what happened next?             Did they

12    get a search warrant?

13         A.     They did.

14         Q.     Okay.     Did you have any role in that or

15    you just sat by?

16         A.     I don't recall to be honest with you.

17         Q.     Okay.     What do you recall next?

18         A.     I don't remember.          I don't recall really.

19         Q.     You don't recall?

20         A.     I'm not positive that I went over -- I

21    think I might have went with them to do the

22    search warrant but I'm not positive.

23         Q.     Okay.     And so you don't remember being at
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    the home.       You may have been there, you just

 3    don't remember it?

 4         A.     Correct.

 5         Q.     Okay.     And then what do you remember

 6    happened next in regards to this investigation?

 7         A.     That we wound up letting him go.

 8         Q.     Okay.     And at that time he was let go was

 9    there any reason to believe there was any

10    criminality or that he was involved in it?

11         A.     No.

12         Q.     Okay.     What was the next thing that

13    happened in this investigation that you can

14    recall?

15         A.     I believe it was the next day that we

16    went to the autopsy.

17         Q.     Okay.     And you saw a sign-in sheet

18    showing that you were there along with Fountain,

19    Colaneri, and was it Mason, or who else was

20    there?

21                         MS. SPENCER:        Objection.

22         A.     I'm not sure.         I believe Fountain, I

23    believe Colaneri and the evidence tech, which I
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    believe was Buttafucco.

 3         Q.     It was McDonald, Fountain, Buttafucco,

 4    Zeigler, Colaneri, and ADA Ackerman.                  Does that

 5    sound right?

 6         A.     Correct.

 7         Q.     Did you know ADA Andra Ackerman before

 8    that time?

 9         A.     I met her once before I believe.

10         Q.     Okay.     And so how was it determined that

11    you were one of the attendees at the autopsy, if

12    you know, was it because you were assigned to

13    this case with Fountain?

14         A.     Correct.

15         Q.     Okay.     And do you know what time you

16    reported for the autopsy that morning or that

17    day?

18         A.     I do not.

19         Q.     Do you know how long you were there for?

20         A.     I do not.

21         Q.     Do you know how long approximately it

22    took, was it an hour or was it half a day or a

23    full day?
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         A.     I don't recall.

 3         Q.     Had you ever attended any other autopsy?

 4         A.     I think that was my first.

 5         Q.     And is it the only or the first of --

 6    were there subsequent ones that you attended?

 7         A.     I had two more after that.

 8         Q.     Okay.     And can you describe for the

 9    record what transpired at the autopsy?

10         A.     Dr. Sikirica did the autopsy, removed

11    parts of the body and at one point he showed us

12    the liver.

13         Q.     Were you standing near or in close

14    proximity to the autopsy table that V was on or

15    were you behind the window in some other room or

16    something?

17         A.     No.    Back and forth being next to the

18    table and away from the table.

19         Q.     Okay.     Was there any pre-autopsy meeting

20    or discussion about anything that happened with

21    regard to discussions with Michael Davis or

22    anything else before Dr. Sikirica started?

23                         MS. SPENCER:        Object to form.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         A.     Not that I recall.           No.

 3         Q.     Okay.     And when Dr. Sikirica opened up

 4    the child's chest I think you said what, he

 5    showed you the liver?

 6         A.     Correct.

 7         Q.     And what else did he show you?

 8         A.     I believe that was the only part that he

 9    showed us.       I don't --

10         Q.     And what do you recall him saying or

11    showing you about it that was significant?

12         A.     That the liver was shredded.

13         Q.     Okay.     And did he explain or give -- did

14    he describe why he -- why or how that happened in

15    his opinion at that time?

16         A.     I don't recall.

17         Q.     Okay.     Did he describe there being like a

18    back and forth or a give and take type of process

19    during an autopsy with law enforcement present?

20    Do you recall that there was a back and forth

21    discussion of while he's doing it or trading

22    ideas or theories of how this could have happened

23    between Sikirica and Troy PD and the D.A.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    representative?

 3                         MR. FIRTH:       Objection to form.

 4         A.     I don't recall that.            No.

 5         Q.     Okay.     Is that it didn't happen or you

 6    don't recall whether or not it happened?

 7         A.     I don't recall whether it happened or

 8    not.

 9         Q.     Okay.     Your subsequent two autopsies did

10    they involve representatives from the D.A.'s

11    office as well as Troy PD?

12         A.     No.

13         Q.     Okay.     Other than -- did Dr. Sikirica

14    ever state either exactly or in sum or substance

15    that there were broken ribs?

16         A.     I believe so.

17         Q.     Did he ever state that the broken ribs

18    lacerated the liver or shredded the liver or

19    words to that effect?

20         A.     That I don't recall.

21         Q.     Okay.     What else do you recall about the

22    autopsy?

23         A.     That was about it I think.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Okay.     What was your next involvement, if

 3    any, in this investigation?

 4         A.     At one point Mr. Davis was brought back

 5    in for an interview.

 6         Q.     And that interview, there were two

 7    subsequent interviews, one was on March 12th, I

 8    believe, and the other one was in September.                      Are

 9    you talking about the one in March?

10         A.     I believe so.         Yes.

11         Q.     Okay.     And what was your involvement, if

12    any, in that interview?

13         A.     I sat in with Detective Fountain.

14         Q.     Okay.     On the video that I saw Detective

15    Fountain is alone during the interview in the

16    room on the third floor with Mike Davis.                    Is that

17    a fair assessment of what was recorded on the

18    video?

19         A.     Without seeing it, yes, probably.

20         Q.     So, where would you have sat in?                 Were

21    you in another room monitoring on a CTD terminal

22    or computer?

23         A.     I believe so.         Yes.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Okay.     Now, Ron would go in and out of

 3    that interview from time to time.                 Do you recall

 4    that?     He would leave the room with Davis and

 5    come back in?

 6         A.     I don't recall that.            No.

 7         Q.     Well, would he leave to confer with you

 8    from time to time about how the interview was

 9    going or for any other advice?

10                         MS. SPENCER:        Object to form.

11         A.     I don't recall what happened in that.

12         Q.     Well, generally would it have been the

13    practice for you guys to work in tandem, with one

14    person conducting the interview, one person

15    monitoring it, but you both collaborating on how

16    to strategize, how to do it?

17         A.     No.

18         Q.     Okay.     Well, had you ever worked on an

19    interview like this that was done on March 12th

20    where Ron did the interrogation and you monitored

21    it in any other case?

22                         MS. SPENCER:        Object to form.

23         A.     I don't believe so.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Okay.     Have you done it with any other

 3    colleagues other than Ron in that matter?

 4         A.     I believe so.         One other time.

 5         Q.     Okay.     And did the other colleague take

 6    the lead, because like in this case Ron had more

 7    experience in the detective squad or was it more

 8    of a collaborative approach between the two

 9    detectives?

10                         MS. SPENCER:        Object to form.

11         A.     Probably because they were more

12    experienced detectives.

13         Q.     Okay.     So, in this case you don't recall

14    whether you were collaborating with Ron, you may

15    have been, may not have been, you just don't

16    remember?

17         A.     Correct.

18         Q.     Okay.     Do you remember whether Michael

19    Davis said anything that was incriminating that

20    day?

21                         MS. SPENCER:        Object to form.         You

22                can answer.

23         A.     Not that I recall.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Okay.     And you guys let him go after that

 3    interview was over, correct?

 4         A.     Correct.

 5         Q.     And would you say he was cooperative that

 6    day?

 7         A.     Yes.

 8         Q.     He was trying to be helpful so it

 9    appeared?

10                         MS. SPENCER:        Object to form.

11         A.     Yes.

12         Q.     And is it fair to say that as of that

13    date you had no reason to believe that he had

14    committed any crime?

15                         MS. SPENCER:        Object to form.

16         A.     That I don't recall, whether or not we

17    knew the results of the autopsy or whatever.

18         Q.     Well, the autopsy would have just said if

19    there was a matter and cause of death but that

20    necessarily wouldn't have implicated Michael

21    Davis, would it have?            You guys -- my question is

22    did you have any reason to believe he committed a

23    crime based on what he told you that day?
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 1    [CHARLES McDONALD - By Mr. Klein]

 2                         MS. SPENCER:        Object to form.

 3         A.     No.

 4         Q.     Okay.     Now, in the Troy PD file which I

 5    could put up, if it's helpful, there were

 6    affidavits from a number of firefighters who

 7    responded and also from the emergency room doctor

 8    at St. Mary's.         Have you looked at those?

 9         A.     No.

10         Q.     Are you aware that they existed or

11    were -- that these depositions were taken during

12    the investigation?

13         A.     Yes.

14         Q.     Were you involved in obtaining these

15    depositions of any or all of the firefighters and

16    the emergency room doc?

17         A.     I don't believe so.           No.

18         Q.     Okay.     I think Sergeant Parrow signed off

19    on them.      Would that suggest that he did the

20    interviews?

21         A.     Yes.

22         Q.     Would he have done them or do you know if

23    he did them alone or with any other detectives or
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    any other officer assisting him?

 3         A.     That I don't know.

 4         Q.     Okay.     Were you -- because this was your

 5    case with Detective Fountain were they in the

 6    loop they were being done even if you didn't

 7    personally take the depositions?

 8         A.     Yes.

 9         Q.     Now, after the March 12th, 2015,

10    interview that was recorded in the interview room,

11    what was the next step in the investigation that

12    you can recall?

13         A.     Just continued to interview him again.                      I

14    remember that.         I mean, met with the D.A.'s

15    office, followed up.

16         Q.     So, there was another interview that was

17    recorded in September of 2015 after the autopsy

18    was issued.        Were you -- and that's an interview

19    that I believe has Ron Fountain in it.                   Although,

20    I don't think we have the video.                 Were you

21    monitoring that one as well like you did the

22    first one?

23         A.     I don't recall.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Okay.     But you recall there being an

 3    interview.       Do you recall there being an

 4    interview closer in time to the indictment in

 5    this case?

 6         A.     I believe so.         Yes.

 7         Q.     Okay.     And you recall being part of that

 8    interview?

 9         A.     I believe I was there for that.

10         Q.     And Mike Davis was let go from that

11    interview as well, correct?

12         A.     Correct.

13         Q.     And he basically, is it fair to say he

14    said basically exactly what he told you in the

15    prior interviews?

16                         MS. SPENCER:        Object to form.

17         Q.     Or did his story change at all?

18         A.     I believe it was the same as prior.

19         Q.     So, when he left that -- can we call that

20    interview closer to the indictment the final

21    interview before his indictment, is that the

22    final one that you know?

23         A.     I believe so.         Yes.    I'm not positive.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     When he left that interview did you have

 3    any reason to believe that he committed a crime?

 4         A.     I don't recall.

 5         Q.     Okay.     Well, if it was the same

 6    information you got from the March interview, is

 7    it fair to say at that time you didn't know

 8    whether he committed a crime, you didn't have

 9    reason to believe at that time?

10                         MS. SPENCER:        Object to form.

11         A.     He didn't confess, I'll put it that way.

12         Q.     Right.      If there was probable cause for

13    arrest at that point you could have arrested him

14    pre-indictment, correct?

15                         MS. SPENCER:        Object to form.

16         A.     I believe so, yes.

17         Q.     So, do you recall there being a

18    discussion that day before he was let go, either

19    with Ron Fountain, Tim Colaneri, or anyone else

20    about letting him go because you didn't have

21    grounds to take him in?

22                         MS. SPENCER:        Object to form.

23         A.     I don't recall.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     As of that final interview was this in

 3    your mind an unexplained death?

 4                         MS. SPENCER:        Object to form.

 5         A.     No.

 6         Q.     Okay.     Well, what was it in your mind at

 7    that point?

 8         A.     Well, considering from talking with the

 9    ADA or, you know, the medical examiner's report,

10    it came back that there was a crime.

11         Q.     Okay.     Now, did you know that at trial

12    the -- withdrawn.

13                Did you know in the course of the

14    investigation that the fire department employees

15    did 16 minutes of chest compressions, approximately

16    100 per minute while V was at the home and then

17    20 minutes of chest compressions from the home to

18    the hospital approximately 100 a minute?                    Did you

19    know that during the course of the investigation?

20         A.     No.    I did not.

21         Q.     Did you know that medical, St. Mary's

22    emergency room personnel did 30 minutes of chest

23    compressions, approximately 100 a minute at the
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    hospital?

 3         A.     No.    I did not.

 4         Q.     Did you come to learn that that testimony

 5    came out at trial that there were, if you add it

 6    up, upwards of 6,000 or more chest compressions

 7    within an hour done by people other than Michael

 8    Davis?

 9                         MS. SPENCER:        Object to form.

10         A.     No.    I did not.

11         Q.     Okay.     If you had known that as the lead

12    detective in this case is that something based on

13    your training, education, and experience you were

14    under an obligation to inform prosecutors of?

15                         MS. SPENCER:        Object to form.

16         Q.     In a case like this?

17         A.     I'm sorry?

18         Q.     In a case -- this is a case involving a

19    death of a child that was charged as a homicide,

20    correct?

21         A.     I believe it was manslaughter, but I'm

22    not --

23         Q.     Manslaughter.         And the mechanism was
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    compression of the chest, right, in sum or

 3    substance?

 4                         MS. SPENCER:        Object to form.

 5          A.    I don't know how it was described.

 6          Q.    Well, is it your understanding that the

 7    charges arose from Michael Davis attempting CPR

 8    in sum or substance?

 9                         MS. SPENCER:        Object to form.

10                         MR. FIRTH:       Same objection.

11          A.    That's not the way that I understand it,

12    no.

13          Q.    Well, how do you understand that?                 How

14    did you understand it then?

15          A.    That there was -- from pressure but I

16    don't know how it happened.

17          Q.    Okay.     Did you know then how it happened?

18          A.    At the trial?

19          Q.    During the investigation, before the

20    indictment.

21          A.    Well, from being squeezed.

22          Q.    But was it your understanding that it was

23    during an attempted CPR after she was unresponsive
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    or did you have another theory in mind?

 3                         MS. SPENCER:        Object to form.

 4         A.     Another theory.

 5         Q.     What was the other theory?

 6         A.     That he had squeezed her.

 7         Q.     Squeezed her with what motive, just for

 8    no reason or for unexplained reasons or was it

 9    the course of trying to revive her because she

10    was unresponsive?

11         A.     That I don't know.

12                         MS. SPENCER:        Object to form.

13         Q.     Well, as an experienced police officer

14    with, you know, and as a detective, based on your

15    training, education and experience in a case like

16    this where there's an allegation of squeezing

17    resulting in compression of the liver and rib

18    injuries, if you had known that there were -- was

19    an hour of CPR efforts, thousands of compressions

20    done by EMS and hospital staff, do you feel you

21    had an obligation to share that with prosecutors

22    if you had known it?

23                         MS. SPENCER:        Object to form.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         A.     I would have talked to the ADA about it.

 3         Q.     Okay.     To your knowledge was Ron Fountain

 4    aware of that?

 5                         MS. SPENCER:        Object to form.

 6         Q.     The fact that there were thousands of

 7    chest compressions done by fire department and

 8    hospital staff?

 9         A.     I can't answer for Ron, no.

10         Q.     Well, in your presence or did he ever

11    tell you that he was aware of that?

12         A.     No.

13         Q.     In your meetings with the D.A. did he

14    ever disclose it to them?

15         A.     Not that I recall.

16         Q.     So, did you come to learn or were you

17    aware that came out at trial, those facts came

18    out at trial through firefighter Bayley and

19    Dr. Crisafulli that there was, you know, an hour

20    of thousands of chest compressions done other

21    than by Mike Davis?

22                         MS. SPENCER:        Object to form.

23                         MR. FIRTH:       Same objection.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2          A.    I did hear about it.

 3          Q.    And how did you hear about it, in what

 4    context, was there concern that was not disclosed

 5    to the prosecution, concern that you didn't know

 6    about it or just what was discussed about it?

 7                         MS. SPENCER:        Object to form.

 8          A.    I heard that that was, defense was trying

 9    to say that it was from compressions.                   That was

10    it.

11          Q.    Well, he was found not guilty and there

12    was testimony that it was -- that compressions

13    didn't cause the death.             Did you ever hear that

14    argument, whether you believe it to be true or

15    not?

16          A.    I wasn't involved in the trial at all.

17                         MS. SPENCER:        Note my objection.

18          Q.    But you may have followed it as one of the

19    co-lead detectives, right?              Did you follow it?

20          A.    No.

21          Q.    Okay.     Did you ever investigate or did

22    you ever become aware of anyone else investigating

23    potential reasons why V.D. was unresponsive when
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    Mike first encountered her after he woke up that

 3    morning?

 4                         MS. SPENCER:        Objection.

 5         Q.     Or did the focus just go to him touching

 6    her?

 7                         MR. FIRTH:       Objection to form.

 8         A.     Could you repeat it?            I'm sorry.

 9         Q.     Yeah.     Was there ever a focus of the

10    investigation either by you or anyone else on

11    what, if anything, led to V being unresponsive

12    before Mike said that he woke up and found her

13    unresponsive or was the focus of the law

14    enforcement investigation on Mike Davis and how

15    he may have hurt her?

16                         MR. FIRTH:       Object to the form.

17                         MS. SPENCER:        Object to form.

18         Q.     What's that?        You can answer.

19         A.     Okay.     It was on Mike Davis.            He was the

20    last one with her and then, you know, we waited

21    for lab results.

22         Q.     Well, regardless of him being the last

23    one with her, did that negate the possibility of
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    there being some natural death that happened

 3    before he encountered her as he described in his

 4    video?

 5                         MR. FIRTH:       Object to form.

 6         A.     No.

 7         Q.     Okay.     So, my question is, you know, even

 8    given that he was the last one with her, that

 9    didn't mean that he killed her, correct?

10         A.     Correct.

11         Q.     And his statement was that he found her

12    unresponsive and was never able to revive her and

13    EMS said that when they got there she was flat

14    lining; is that a fair summary?

15                         MS. SPENCER:        Object to form.

16         A.     As far as what EMS said I wasn't there at

17    that time so I can't answer to that.

18         Q.     Well, you've come to learn, did you come

19    to learn that EMS says that she was not responsive

20    upon arrival?

21         A.     Yes.

22         Q.     Okay.     So, given that, did anyone ever

23    discuss, even if it wasn't a thread that wasn't
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    pulled did anyone ever discuss investigating V's

 3    health or whether she may have passed away or had

 4    been in medical distress before there was any

 5    touching of her by Mike Davis?

 6                         MR. FIRTH:       Objection.

 7         A.     I believe that was asked if there were

 8    any medical conditions and health issues.

 9         Q.     Had you ever heard of the cause of death

10    or phenomenon known as Sudden Unexplained Death

11    or Sudden Infant Death Syndrome?

12         A.     Yes.

13         Q.     Were any of those terms or similar terms

14    discussed in the context of what could have

15    happened to V?

16         A.     Not that I recall.

17         Q.     Okay.     Did you and Ron Fountain ever,

18    and/or Ron Fountain ever run into Mike Davis in

19    public like on the street or near his home in the

20    months after his interview and leading up to his

21    indictment and did you ever have words with him

22    just informally out on the street?

23         A.     No.    Not that I recall.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Okay.     Is that something that could

 3    happen from time to time if you are working a

 4    case and you see someone who's a witness or is a

 5    suspect, would you -- is there any reason why you

 6    couldn't just approach them and talk to them and

 7    catch up with them and see if they have any new

 8    information?

 9         A.     I would not do that, no.

10         Q.     Is there any rule against it that you are

11    aware of?

12         A.     Not that I'm aware of.

13         Q.     Okay.     So you said there was a subsequent

14    meeting after the Mike Davis interview in March

15    with the D.A.        How many meetings were there after

16    that with the D.A.?

17         A.     Oh, I don't recall.

18         Q.     Were there several or just a couple?                   How

19    would you estimate?           Go ahead.       I didn't hear.

20         A.     I don't recall.

21         Q.     Okay.     And were they with Andra Ackerman

22    or other DAs as well?

23         A.     I know Andra was there.             I don't recall
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    if anybody else was there or not.

 3         Q.     Okay.     Can you recall any of the meetings

 4    and/or -- take each meeting that you can recall

 5    and describe who was present and what was

 6    discussed?

 7         A.     Oh, I can't even recall.

 8         Q.     Well, were they before, pre-autopsy or

 9    post autopsy results?

10         A.     Post autopsy.

11         Q.     So, there was a meeting post autopsy with

12    the D.A.'s office.           Do you know if it was before

13    the indictment or was it before trial, like was

14    it before the hearings?

15         A.     I believe it was before the hearing.                   As

16    far as trial and grand jury I wasn't involved in

17    those so.

18         Q.     Okay.     Well, Ron testified in the grand

19    jury, were you part of any meetings with him

20    being prepped or discussing the case with the

21    D.A.'s office?

22         A.     No.    I don't believe so.           No.

23         Q.     Okay.     And the meeting that you had
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    before the hearings do you recall anything that

 3    was discussed other than just going through your

 4    involvement on February 26th with the interview

 5    at headquarters?

 6         A.     I believe that was all that was

 7    discussed.

 8         Q.     Okay.     There's an article that we were

 9    given by the county defendants in this case where

10    D.A. Abelove said it was in sum and substance a

11    weak, you know, not a strong case but he didn't

12    regret pursuing it.

13                Do you remember being any talk that this

14    was a case that was doubtful whether the

15    prosecution could prove a conviction here?

16         A.     No.    I don't recall anything like that.

17         Q.     Well, given that you didn't have any

18    reason to believe that Mike Davis committed a

19    crime after speaking with him, what is your

20    understanding of the basis of him being

21    prosecuted in this case, was it essentially Dr.

22    Sikirica, did he provide the evidence that linked

23    Mike Davis to this being a crime?
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 1    [CHARLES McDONALD - By Mr. Klein]

 2                         MR. FIRTH:       Objection to form.

 3                         MS. SPENCER:        Object to form.

 4         A.     Yes, and speaking with the ADA.

 5         Q.     Well, the ADA has to have evidence.                  So,

 6    the ADA spoke with you and Ron Fountain, correct?

 7         A.     Correct.

 8         Q.     And presumably anyone else who obtained

 9    evidence, like Sergeant Parrow, would that be

10    fair, like those supporting deps would have been

11    given to the D.A.?

12         A.     Correct.

13         Q.     And the D.A. spoke with Sikirica, to your

14    knowledge, you were present for some of those

15    meetings, correct?

16         A.     Not with Dr. Sikirica I wasn't.

17         Q.     Okay.     So, other than police evidence

18    from Troy PD and Dr. Sikirica, is it fair to say

19    that's the universe of evidence that resulted in

20    there being a criminal prosecution against Mike

21    Davis?

22                         MS. SPENCER:        Object to form.

23         A.     Correct.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Okay.     You are not aware of anything

 3    else?     It's not a trick question.              I just want to

 4    know if there's anything else that you can point

 5    to that supported charges here, other than

 6    information given to the D.A.'s office by your

 7    office and information provided by Dr. Sikirica.

 8         A.     Correct.

 9         Q.     Okay.     But as a -- in your training,

10    education and experience, based on your

11    conversations with Mike Davis you didn't know --

12    you didn't have reason to believe he committed a

13    crime to your knowledge, it was once Dr. Sikirica

14    provided a link that's when he was charged?                     Is

15    that a fair summary?

16                         MR. FIRTH:       Object to form.

17                         MS. SPENCER:        Object to form.

18         A.     Like I stated he never confessed.

19         Q.     So, is what I said accurate in sum or

20    substance?

21                         MS. SPENCER:        Object to form.

22                         MR. FIRTH:       Same objection.

23         A.     Correct.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Okay.     I'm going to share a screen and

 3    just show some documents.

 4                         MR. KLEIN:       Off the record.

 5                         (Whereupon, a discussion was held

 6                off the record.)

 7         Q.     So, Mr. McDonald, I'm showing you what

 8    we'll call McDonald Exhibit 1.

 9                         (McDonald Exhibit No. 1,

10                Defendants' Disclosure, 1/31/18, marked

11                this date for identification.)

12         Q.     And this is the Troy Defendants' 206A

13    disclosure dated January 31st, 2018, it's 92

14    pages, and I'll refer to the documents we'll show

15    you by the page number in the PDF because I don't

16    think they are Bates numbered.

17         A.     Okay.

18         Q.     I'm showing you what's Page 5 of 92.                   Do

19    you recognize the handwriting on this page?

20         A.     No.    I don't.

21         Q.     So, Page 19 of 92 is a list of crime

22    scene attendance log.            Do you see that?

23         A.     Barely.      All right.       Yeah.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     I can enlarge it.          And so Captain

 3    Shoemaker, Dan Riley, Mike Bayley, Jim Tidings,

 4    Jason Lucey, Jerry Vogt, Frank Razzano, Dave

 5    Judge, Ed Cummings.           Do you know any of those

 6    people just from the course of your employment or

 7    personally?

 8         A.     I know a couple of them.

 9         Q.     Okay.     Did you speak with any of them

10    about their efforts, their lifesaving or

11    resuscitation efforts in this case?

12         A.     No.    I did not.

13         Q.     Page 46 of 92 is a sign-in sheet dated

14    February 27th, 2015, from the autopsy.                   Is this

15    the sign-in sheet that you referred to earlier

16    that you looked at?

17         A.     Yeah.

18         Q.     Okay.     Do you know if you took any notes

19    at the autopsy?

20         A.     I did not.

21         Q.     This Page 54 of 92 is the supporting

22    deposition of Michael Bayley, who testified at

23    trial.     Do you recognize the signature, the
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    witness signature at the bottom?

 3          A.    It looks like it says it's Detective

 4    Parrow.

 5          Q.    What about signed and witnessed?                 So,

 6    it's signed by Bayley and witnessed by it looks

 7    like Detective Sergeant Parrow, is that what you

 8    think?

 9          A.    Correct.

10          Q.    And so is this the kind of -- that this

11    was typed up, you know, just given your

12    experience, do you know where this would have

13    been done?       Would Parrow have come down to

14    headquarters or where would this have been typed

15    up?

16          A.    He probably would have had the person

17    giving the deposition come down to the station

18    and do it there.

19          Q.    Okay.     And this is dated February 27th,

20    the date of the autopsy at 3:20 p.m.                  Do you know

21    if you were around headquarters that afternoon

22    when these interviews were being recorded?

23          A.    I don't recall that, no.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Okay.     And it does say at the end of the

 3    statement I came to the police station and met

 4    with Detective Sergeant Parrow and gave him this

 5    statement.

 6                Do you recall there being any discussion

 7    that day after the autopsy when you heard about

 8    the liver, any effort to inquire with Bayley or

 9    any other firefighters about resuscitation

10    efforts?

11         A.     Not that I recall.           No.

12         Q.     There's a deposition from James Tidings

13    dated March 2nd, 2015.            Do you know if you were

14    present when James Tidings was interviewed?                     It

15    looks like also by Detective Sergeant Parrow.

16         A.     That's correct.         It looks like Detective

17    Sergeant Parrow.

18         Q.     Okay.     So do you know if you were present

19    when this interview took place or if you had any

20    conversations with Tidings even though Parrow

21    witnessed it?

22         A.     I don't believe so, no.

23         Q.     Okay.     Here it says among other things,
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    we transported the child while performing CPR.

 3                Do you know if any effort was made to

 4    inquire in more detail about CPR efforts and

 5    whether those could have been a source of liver

 6    or rib injuries?

 7         A.     That I don't recall.

 8         Q.     In your experience do you have, in your

 9    training, education and experience are you aware

10    that CPR can cause injuries if it's not done

11    properly?

12         A.     Correct.

13         Q.     And even if it is done properly there's a

14    risk of rib fractures and other organ injuries?

15                         MR. FIRTH:       Object to form.

16         A.     Correct.

17         Q.     So, were you aware of those risks of CPR

18    at the time of this incident?

19         A.     Yes.

20         Q.     Were you trained in CPR?

21         A.     Yes.

22         Q.     Was Ron Fountain trained in CPR; in other

23    words, were all Troy officers CPR certified to
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    your knowledge?

 3                         MS. SPENCER:        Object to form.

 4         A.     That I don't know if he was or not.

 5         Q.     Okay.     Did you know from your training

 6    and CPR that even well-intending CPR efforts can

 7    result in rib fractures and other injuries to the

 8    abdominal area or chest area?

 9                         MS. SPENCER:        Object to form.

10         A.     Yes.

11         Q.     Were you aware of that?

12         A.     Yes.

13         Q.     So, given that knowledge did that -- did

14    those risks come up when you guys were formulating

15    a theory of what happened in this case?

16                         MS. SPENCER:        Object to form.

17                         MR. FIRTH:       Same objection.

18         A.     That I don't recall.

19         Q.     So, was the focus from the Troy PD's

20    perspective from what you recall always on Mike

21    Davis and never on potential CPR injuries by EMS

22    or hospital staff?

23                         MS. SPENCER:        Object to form.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         A.     I don't recall.         Might have talked about

 3    it at other times.

 4         Q.     Is it fair that you do affirmatively

 5    recall that the focus of this investigation was

 6    always on Mike Davis and no one else?

 7                         MS. SPENCER:        Object to form.

 8         A.     There was nobody else with her at the

 9    time.     He was.

10         Q.     There were people who did CPR for an hour

11    that were with her and he described her being

12    unresponsive when he found her before he

13    described touching her chest, but despite all --

14    notwithstanding all of that, is it your testimony

15    the focus here was always on establishing whether

16    Mike Davis committed a crime --

17                         MS. SPENCER:        Object to form.

18         Q.     -- from the Troy PD's perspective?

19         A.     It was investigated as a crime.

20         Q.     Okay.     Was there any attempt to rule out

21    that it was an accidental death?

22                         MS. SPENCER:        Object to form.

23         Q.     That you are aware of?
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         A.     I'm not aware of it.            I believe that it

 3    was.

 4         Q.     By whom?

 5         A.     I believe the ADA's office and -- it was

 6    probably discussed --

 7         Q.     You think it was or you know it was?

 8         A.     I don't know for certain.

 9         Q.     Well, I'm asking you in the investigatory

10    phase of this case was there ever any effort made

11    by you or any of your colleagues, even if you heard

12    about it secondhand, to rule out an accidental

13    death here or was this always investigated as a

14    homicide?

15         A.     No.    I believe we looked at the other --

16    any other reason as far as for like with the

17    autopsy, whether or not there was any type of

18    carbon monoxide or anything like that.

19         Q.     Page 57 of 92 is a supporting dep by

20    Jason Lucey taken on March 2nd, 2015, at around 5

21    p.m.      It looks like this is also Sergeant Parrow,

22    correct?

23         A.     Correct.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Were you present or were you aware of

 3    this interview when it took place?

 4         A.     No.    I'm not.

 5         Q.     Did you answer that?            I'm sorry.

 6         A.     I wasn't present for that.

 7         Q.     Okay.     Okay.     This -- then there's, on

 8    Page 59 there's a supporting deposition of Frank

 9    Shoemaker.        He's the captain.         Do you know him?

10         A.     I might know him to see him.

11         Q.     Okay.     Were you involved or present when

12    he gave his interview?

13         A.     No.    I was not.

14         Q.     There's a supporting deposition on Page

15    67 of 92 dated March 5th at 11:30 a.m. of

16    Kathleen Crisafulli from the St. Mary's Hospital.

17    She's an ER doctor.           Were you involved in that

18    interview?

19         A.     No.    I was not.

20         Q.     Okay.     Do you remember how this -- like

21    how the division of labor was decided in this

22    case, do you remember Sergeant Parrow taking on

23    the supporting deps and you were doing something
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    else or what can you tell us about that?

 3         A.     I don't recall all that.

 4         Q.     Is it typical that Sergeant Parrow would

 5    do this type of role in a case or it just appears

 6    to be what he did in this, he had to help out?                          I

 7    didn't hear what you said.

 8         A.     I said they would help out.

 9         Q.     Okay.     So, Russell Brown came in on Page

10    68 on March 6th.          It looks like Sergeant Parrow

11    as well interviewed him.             Were you there when

12    Russell came in, given you knew him?

13         A.     That's me.

14         Q.     What's that?

15         A.     That's me.       I took that statement.

16         Q.     Oh, I see.       Okay.     So, do you remember

17    meeting with him?

18         A.     I -- vaguely.

19         Q.     Okay.     And what was the purpose of this

20    deposition, just to document what he knew about

21    the incident?

22         A.     Correct.

23         Q.     Did he provide any information that was
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    incriminating or shed light on the situation or

 3    you just took it down to document his story?

 4                         MS. SPENCER:        Object to form.

 5         A.     Took a statement because he was the one

 6    that transported Rebecca up to the house.

 7         Q.     Okay.     As I'm flipping through looking

 8    for the next document I want to ask you about,

 9    I'm looking for your notes, let me know if you

10    see anything with your handwriting on it or that

11    you drafted.

12         A.     Okay.

13         Q.     Page 79 of 92 is an investigation report.

14    It's got your name and Fountain's name at the

15    bottom.      Do you know if you drafted this or

16    Fountain did?

17         A.     Detective Fountain did.

18         Q.     Okay.     This is Page 80, is an e-mail from

19    ADA Ackerman to Ron Fountain and Tim Colaneri,

20    cc'd to D.A. Abelove.            She is, among other

21    things, thanking them on the bottom for including

22    her on a meeting, in a meeting that occurred, you

23    know, looks like on the last day of February.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2                Was she referring to the autopsy or was

 3    there any other meeting with her that you can

 4    recall?

 5         A.     That I don't recall.

 6         Q.     Okay.     I'm showing you now the Troy

 7    Defendants' Disclosure dated September 25th,

 8    2019, seven pages.           Do you recognize the

 9    handwriting in these notes, Pages 3 of 7, 4 of 7,

10    5 of 7, 6 of 7, 7 of 7?

11         A.     It looks like Detective Fountain's.

12         Q.     Okay.

13                         (Whereupon, a discussion was held

14                off the record.)

15                         (Recess taken at 10:55 a.m.;

16                proceedings resumed at 11:04 a.m.)

17                         MR. KLEIN:       We'll call the

18                Defendants' Disclosures McDonald -- dated

19                1/31/18, McDonald 1.            Defendants'

20                Disclosure dated 9/25/19, McDonald 2.

21                And we'll call this document a three-page

22                document Bates numbered 1, 2 and 3, we'll

23                call McDonald 3.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2                         (McDonald Exhibit Nos. 2 and 3

 3                marked this date for identification.)

 4         Q.     Can you tell me looking at these

 5    documents what they are, do they all have your

 6    handwriting or some?

 7         A.     Go a little slower there.              That one is

 8    mine.

 9         Q.     That's 1 of 3.         How about Page 2?

10         A.     That's mine also.

11         Q.     Okay.

12         A.     The bottom part is definitely mine.

13         Q.     And how about Page 3?

14         A.     That's mine also.          Yup.

15         Q.     Okay.     So, going to Page 1 it says,

16    9/9/15, approximately 10 a.m. in hallway, Mike.

17    I've been going over it in my mind what could

18    have happened.

19                So, is this the date that Mike Davis came

20    in for his final recorded interview?

21         A.     I don't know which interview it was, but

22    it was when he came in for an interview, yes.

23         Q.     Okay.     Well, I can tell you he was
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    arrested a couple weeks later and that to my

 3    knowledge 9/9/15 was the final recorded

 4    interview.        Does that sound right?

 5         A.     Okay.

 6         Q.     And so is this just something he

 7    spontaneously said to you in the hallway and you

 8    decided to document it?

 9         A.     Yes.

10         Q.     Any particular why?           I mean, it wasn't

11    incriminating, was it?

12         A.     No.    He made statements so I just jotted

13    things down.

14         Q.     Okay.     Then it says me, right, we have --

15    can you tell me what it says after that?

16         A.     "We have to for almost seven months now,

17    we know something happened."

18         Q.     Okay.     So you said we have to.             We've

19    been thinking about it for several months now, is

20    that like the substance of what you are saying?

21         A.     Correct.

22         Q.     And then he says if I think of anything

23    else, I'll let you guys know.               Is that what you
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    recorded there?

 3         A.     Correct.

 4         Q.     Okay.     So, did he say this before the

 5    recorded interview or after or do you not know?

 6         A.     That I don't know.

 7         Q.     So, nothing incriminating here, fair to

 8    say, you just wrote it so it's recorded so

 9    there's a record of it?

10         A.     Correct.

11         Q.     Okay.     Looking at Page 2 of 3.             It says

12    Michael A. Davis.          Did you write that?

13         A.     I believe I did.

14         Q.     Okay.     And then medicine, two to three

15    days ago.       Is that what that says?

16         A.     Yes.

17         Q.     Can you tell me what it says after that?

18         A.     Scratched legs a lot.            I can't make out

19    the rest of my writing there.

20         Q.     Okay.     And then what does it says after

21    that?

22         A.     Something nails and then it says Rebecca

23    Parker, 22, mom.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Natural father Clarence Davis, New York

 3    City, 23, and then it has his date of birth?

 4         A.     Correct.

 5         Q.     And then it says, "I never really spanked

 6    her.      We would make her stand in a corner for

 7    like 15-20 minutes."           Is that what you wrote?

 8         A.     Correct.

 9         Q.     So, were you asking him about discipline

10    and that's presumably what he said in response?

11         A.     No.    I think he just said that.

12         Q.     Okay.     Were these notes on Page 3, do you

13    know what date -- on Page 2, do you know what

14    date they were from?

15         A.     I believe that was the day of the incident.

16         Q.     Okay.     And then we are going to go down

17    to Page 3, 9/9/15, approximately 10 a.m. in

18    hallway.      Is this the same thing as what's on the

19    first page?

20         A.     It appears that way to me.              Yes.

21         Q.     Okay.     Other than these notes, do you

22    have any other notes that you looked at that you

23    took -- well, let me -- that was a bad question.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2                Did you take any other notes that you are

 3    aware of other than these three pages of notes?

 4         A.     I don't believe so, no.

 5         Q.     Okay.     Fountain testified at trial and

 6    confirmed in his deposition that when talking

 7    about the ribs lacerating the liver that he made

 8    a "leap that the ribs actually caused the

 9    laceration of the liver," and he was saying that

10    to Davis during the interview that that's what

11    Sikirica told him.           Do you remember being told by

12    Sikirica or do you remember Fountain saying or

13    anyone saying that the ribs caused the liver to

14    be lacerated?

15                         MS. SPENCER:        Object to form.

16                         MR. FIRTH:       Same objection.

17         A.     I believe so.         Yes.

18         Q.     So, what do you recall about that?                  When

19    was that said?         Who informed you of that?

20         A.     I'm not sure when I heard it, but it was,

21    you know, I do remember it being mentioned that

22    that was the cause.

23         Q.     Was that after the autopsy report was
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    issued?

 3         A.     It could have been.           I'm not positive.

 4         Q.     And who told you that that was the cause,

 5    who interpreted for you or passed along that

 6    conclusion?

 7         A.     I don't recall that.

 8         Q.     Do you believe it was Fountain more

 9    likely than not or did you speak with Sikirica or

10    anyone else?

11                         MS. SPENCER:        Object to form.

12         A.     I don't know to be honest with you.

13         Q.     Well, other than Fountain, who would you

14    have discussed the cause of death with in this

15    case?

16         A.     ADA's office.         I was at the autopsy.            I

17    don't know if it was there or not.

18         Q.     Were you involved in a decision to

19    proceed with indicting Mike Davis for this?

20                         MS. SPENCER:        Object to form.

21         A.     Me personally, no.

22         Q.     Was Ron Fountain involved in that

23    decision to the best of your knowledge?
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         A.     I'm sorry?

 3         Q.     Was Ron Fountain part of that decision to

 4    indict in this case?

 5         A.     Well, I know we conferred with the ADA

 6    and it was their decision to go forward.

 7         Q.     Did you ever discuss with anyone from the

 8    date of the acquittal, the not guilty verdict in

 9    this case up until today what broke down in this

10    case, why Mike Davis' case resulted in a not

11    guilty verdict?

12         A.     I'm sure I talked to Detective Fountain

13    and other people about it.              Yeah.

14         Q.     Okay.     And what was discussed as the

15    reasons why people believe this case resulted in

16    a not guilty verdict?

17         A.     The jury just didn't believe what the ADA

18    presented.

19         Q.     Okay.     Well, were you aware that there

20    was a case presented that V more likely than not

21    died before any efforts were made to resuscitate

22    her?

23                         MS. SPENCER:        Object to form.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2                         MR. FIRTH:       Objection.

 3         Q.     Before Mike Davis touched her?

 4         A.     No.

 5         Q.     Okay.     Do you know why it took from

 6    February of 2015 when the autopsy was done until

 7    August or September when the report was issued,

 8    why it took Dr. Sikirica so long; in other words,

 9    were you made aware of any process that was

10    conflicted about whether this was a homicide or a

11    natural or accidental death or anything else?

12                         MS. SPENCER:        Object to form.

13         A.     No.    I was not.

14         Q.     Did you have any other involvement in the

15    investigation of V's death that we haven't

16    discussed?

17         A.     Not that I am aware of, no.

18         Q.     You were basically Ron, Ron Fountain's

19    kind of right-hand man for conducting the

20    interviews, you took some investigative steps and

21    attended some meetings, was that essentially your

22    role in this case, and you testified in the

23    suppression hearing?
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         A.     Correct.

 3         Q.     Okay.     Did you ever tell the District

 4    Attorney's Office or ask it be communicated, even

 5    if you didn't tell them, based on the interviews

 6    with Ron Fountain there was no reason to think he

 7    committed -- his interviews with Mike Davis there

 8    was no reason based on those interviews to think

 9    he committed a crime?

10         A.     You broke off there for a minute.

11         Q.     Did you ever communicate or cause to be

12    communicated to the D.A.'s office your statement

13    that or you said earlier that based on your

14    interviews with Mike Davis that you witnessed

15    that there was no reason to think he was involved

16    in any crime based on the interviews?

17                         MS. SPENCER:        Object to form.

18                         MR. FIRTH:       Same objection.

19         A.     No.    There was not.

20         Q.     What was the answer?

21         A.     No.

22         Q.     Did you have any involvement in the trial

23    or judicial phase of the case other than what you
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    said, you know, attending a meeting with D.A.,

 3    testifying at the suppression, other than that

 4    did you have any role in the trial?

 5         A.     No.    I did not.

 6         Q.     Were you at any strategy meetings

 7    involving how to present the case at trial?

 8         A.     I don't believe so.           No.

 9         Q.     Okay.

10                         MS. SPENCER:        Can we break for one

11                second?

12                         MR. KLEIN:       Sure.

13                         (Whereupon, there was a pause in

14                the proceedings.)

15         Q.     Okay.     So, I think I was just asking you

16    about the prosecution phase.               Did you have any

17    other involvement in the case?

18         A.     Not that I recall.           No.

19         Q.     Were there any other issues or concerns

20    from an investigator standpoint that you or any

21    of your colleagues had with this case at any time?

22         A.     No.

23         Q.     Other than, you know, based on your
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    interviews with Mike, he didn't incriminate

 3    himself in your opinion, to Dr. Sikirica's report

 4    being the link that resulted in him being

 5    indicted, are you aware of any other evidence or

 6    issues with the evidence in this case?

 7         A.     No.

 8         Q.     Was there any concern about Ron Fountain

 9    being the trial witness in this case given the

10    circumstances of what happened to him before he

11    left, with being indicted and his case?

12                         MS. SPENCER:        Object to form.         If

13                you know.

14         A.     I don't know.

15         Q.     Okay.     You said earlier that you, when

16    you retired you went into some other work or you

17    had some other work lined up.               What have you been

18    doing since you retired?

19         A.     I work for a security company.                Security.

20         Q.     Like armed security or what type of

21    security?

22         A.     No.    It was for colleges.            Associate

23    director of public safety.
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 1    [CHARLES McDONALD - By Mr. Firth]

 2          Q.    At what school or for what company?

 3          A.    It's University Heights Association.                   We

 4    do security for Sage, Albany Law School and

 5    Albany College of Pharmacy.

 6          Q.    You've been doing that since you left the

 7    PD?

 8          A.    Nope.     I've been doing that for the past

 9    three years, four years, and then I did just

10    regular security for the company before I took

11    the new position.

12                         MR. KLEIN:       Okay.     I believe that's

13                all the questions I have for you for

14                today.      I want to thank you for your time

15                and cooperation.

16                         THE WITNESS:        All right.

17                         MS. SPENCER:        Anything for you,

18                Bill?

19                         MR. FIRTH:       Yes.

20   BY MR. FIRTH:

21          Q.    Detective, just a quick, most likely a

22    single question.          Did you ever talk with anyone

23    at the D.A.'s office or were you part of any
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 1    [CHARLES McDONALD - By Mr. Firth]

 2    meeting with the D.A.'s office in terms of the

 3    basis to move forward with the indictment of

 4    Mr. Davis?

 5         A.     I believe I was present for the

 6    conference before they went to grand jury.                     I

 7    went on vacation so I wasn't around for grand

 8    jury or anything like that.

 9         Q.     Conference before the grand jury took

10    place?

11         A.     I believe so.         Yeah.

12         Q.     Who was that conference with do you

13    remember?

14         A.     I believe ADA Ackerman was there and I

15    don't remember who else was in there.

16         Q.     Anyone else from the Troy police

17    department?

18         A.     I'm sorry?

19         Q.     Was there anyone else from the Troy

20    police department?

21         A.     I don't recall.         I know Detective

22    Fountain would have been there.                I don't know if

23    anybody else was there or not.
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 1    [CHARLES McDONALD - By Mr. Firth]

 2         Q.     Okay.     Can you state at least whether

 3    Joel Abelove was present for that?

 4         A.     I can't.      I don't recall that.

 5         Q.     All right.       Do you recall having any

 6    personal discussions with Joel Abelove about this

 7    investigation?

 8         A.     I don't believe I did.             No.

 9         Q.     Okay.     Are you aware one way or another

10    whether he was actively involved in this

11    investigation?

12         A.     I believe he did the trial.               I'm not

13    positive.

14         Q.     Okay.     That aside, any other role in the

15    investigation?

16         A.     Other than probably meeting with him, you

17    know, looking into this stuff, I don't know what

18    other role he had into it.

19         Q.     As you sit here today do you know whether

20    he -- do you recall any meetings that he was

21    involved with, with respect to the investigation

22    leading up to the indictment?

23         A.     That I don't recall.            I don't recall him.
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 1    [CHARLES McDONALD - By Mr. Firth]

 2         Q.     That meeting that you attended with Andra

 3    Ackerman before the indictment, do you recall

 4    what was discussed there?

 5         A.     I believe what they were going to -- how

 6    they were going to proceed with it as far as

 7    charges.

 8         Q.     In terms of at the grand jury?

 9         A.     I believe so.         Yes.

10         Q.     You are saying you believe so, but do you

11    have any recollection one way or the other?

12         A.     No.

13         Q.     Okay.     And, to your knowledge, it was

14    just that single meeting that you had with the

15    D.A.'s office leading up to the indictment?

16         A.     I believe so.         I don't recall -- I

17    remember meeting with them once.                 I don't know if

18    it was more than once.

19                         MR. FIRTH:       Okay.     Well, that's all

20                I have.      I think I said I was only going

21                to be asking one question, but that's

22                okay.     You tolerated it well.             I

23                appreciate it.
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 2                         MS. SPENCER:        Any follow-up, Brett?

 3                         MR. KLEIN:       No.    Thank you.

 4                         MS. SPENCER:        Okay.

 5                         MR. KLEIN:       Actually, I am going to

 6                ask a follow-up.          I'm sorry about that.

 7   BY MR. KLEIN:

 8         Q.     Detective, the meeting to discuss the

 9    course of proceeding forward with the grand jury,

10    Ron Fountain was part of that meeting?

11         A.     Yes.     He would have been.           It was

12    basically his case.

13         Q.     Okay.     Anyone else from Troy PD?

14         A.     I already stated I don't recall if

15    anybody else was there.

16         Q.     Okay.     And do you recall what was

17    discussed or if you don't recall specifically,

18    what is typically discussed at such a meeting?

19                         MR. FIRTH:       Objection to form.

20         A.     I don't recall what was discussed.                  I

21    know they would be discussing how they were going

22    to proceed.

23         Q.     Okay.     In other words, does it involve
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 2    the prosecutor inquiring with the lead detective

 3    what the -- to lay out the evidence in the case

 4    for going forward?

 5                         MR. FIRTH:       You are talking about

 6                in general terms, Brett?

 7         Q.     If you remember in this specific case did

 8    it involve Andra Ackerman asking Ron Fountain to

 9    lay out what the evidence of the case was for her

10    so she could determine whether or not to go

11    forward?

12         A.     I don't recall that now.

13         Q.     Okay.     Typically what happens at such a

14    meeting?

15         A.     We would discuss what line of questioning

16    there was going to be.

17                         MR. KLEIN:       Okay.     That's all the

18                questions I have.          Thank you.

19                         THE WITNESS:        Thank you.

20                         MR. FIRTH:       Thanks, Detective.

21                         (Whereupon, the testimony of

22                CHARLES McDONALD concluded at 11:30 a.m.)

23
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 2

 3        STATE OF NEW YORK

 4        COUNTY OF ____________________

 5

 6

 7                I have read the foregoing record of my

 8   testimony taken at the time and place noted in the

 9   heading hereof, and I do hereby acknowledge it to

10   be a true and correct transcript of same.

11

12

13

14                       ___________________________

15                       CHARLES McDONALD

16

17

18        Sworn to before me this

19        ______ day of ____________, 20__.

20        __________________________________

21        NOTARY PUBLIC

22

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 2                      C E R T I F I C A T I O N

 3

 4                I, SUSAN FLORIO, Registered Professional

 5    Reporter and Notary Public in and for the State of

 6    New York, do hereby certify that the foregoing is a

 7    true, complete and accurate transcript to the best

 8    of my knowledge, skill and ability on the date and

 9    place hereinbefore set forth.

10                I FURTHER CERTIFY that I am not related

11    to or employed by any of the parties to the action

12    in which the proceedings were taken, or any

13    attorney or counsel employed in this action, nor am

14    I financially interested in the case.

15                IN WITNESS WHEREOF, I have hereunto set

16    my hand this 18th day of June, 2021.

17

18

19                            ___________________________

20                                     SUSAN FLORIO, RPR

21                      (The foregoing certification of
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22                reproduction of the same by any means
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      Q. Well, to your knowledge, did Fountain      10
18    have any permission or authority to take that
      recording off of the department grounds and
19    give it to someone else?
20

21

22

23
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 2                              DEPOSITION of TIMOTHY COLANERI

 3

 4   UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF NEW YORK
 5   ----------------------------------------------X
     MICHAEL DAVIS-GUIDER,
 6
                                Plaintiff,
 7
     -against-                  Civil Case No.: 1:17-cv-01290
 8                              (FJS/DJS)

 9   CITY OF TROY, RONALD FOUNTAIN, Individually,
     DANIELLE COONRADT, Individually, CHARLES
10   MCDONALD, Individually, TIM COLANERI,
     Individually, ADAM R. MASON, Individually,
11   RENSSELAER COUNTY, MICHAEL SIKIRICA,
     Individually, and JOEL ABELOVE,
12   Individually,

13                      Defendants.
     ----------------------------------------------X
14

15        DEPOSITION of the Defendant, TIMOTHY COLANERI,

16 held on May 26, 2021, commencing at 1:35 p.m.,

17 being held virtually by Zoom, pursuant to Notice;

18 before Susan Florio, a Registered Professional

19 Reporter and Notary Public in and for the State of

20 New York.

21

22

23
         Susan Florio, RPR - Professional Reporting Service - (518)887-2733
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 2                       S T I P U L A T I O N S

 3 IT IS HEREBY STIPULATED AND AGREED by and between

 4 the parties hereto, that all rights provided by the

 5 F.R.C.P. including the right to object to any

 6 question except as to the form, or to move to

 7 strike any testimony at this examination, are

 8 reserved, and, in addition, the failure to object

 9 to any question or move to strike testimony at this

10 examination shall not be a bar or waiver to make

11 such motion at, and is reserved for, the trial of

12 this action;

13 It is further stipulated and agreed that this

14 examination may be sworn to by the witness being

15 examined before a Notary Public other than the

16 Notary Public before whom this examination was

17 begun;

18 It is further stipulated and agreed that the filing

19 and certification of the original of this

20 examination are waived;

21                It is further stipulated and agreed that

22   the examining party will furnish the examined

23   party with a copy of the transcript free of charge.
         Susan Florio, RPR - Professional Reporting Service - (518)887-2733
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 1

 2                        TIMOTHY COLANERI,

 3   having been first duly sworn/affirmed remotely by

 4   the notary public, was examined and testified as

 5   follows:

 6

 7   BY MR. KLEIN:

 8         Q.     Good afternoon, Sergeant Colaneri.                  How

 9    are you today?

10         A.     Fine.

11         Q.     Good.     We've met before on September

12    12th, 2019, at the deposition in the Thomas case.

13    Do you recall that?

14         A.     Yes.

15         Q.     Okay.     On that day we asked you questions

16    and then I think it was continued from a prior

17    date.     We asked you questions under oath about

18    your background.          And have you looked at that

19    deposition since that day up until today, at that

20    transcript?

21         A.     No.

22         Q.     Okay.     Did you tell the truth that day?

23         A.     Yes.
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         Q.     Okay.     So, I'm going to try not to

 3    revisit everything about your background as we

 4    asked you about it in prior testimony.

 5                Since September of 2019 up until today

 6    have your duties and responsibilities changed in

 7    any way with the Troy PD?

 8         A.     Yes.     I left the detective bureau and

 9    took an assignment in the community police unit.

10         Q.     And what prompted that change?

11         A.     I was in the detective bureau for over 22

12    years and I just got tired of it and there was an

13    opening in community police and I decided to do

14    that.

15         Q.     And what are your responsibilities and

16    duties in community police?

17         A.     I oversee the school resource officers,

18    the traffic unit and our community police

19    officers.

20         Q.     Okay.     Is it basically like a patrol

21    supervisor?

22         A.     Yes.

23         Q.     Okay.     Have you been named or has the
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    Troy PD been named in any lawsuit involving any

 3    conduct attributed to you since we last spoke in

 4    September of 2019?           Have you been sued in any

 5    only case?

 6         A.     Other than the Davis one going on right

 7    now?

 8         Q.     Yes.

 9         A.     No.    Just Davis and Thomas.

10         Q.     And have you brought any legal action

11    against the Troy PD at all or the City of Troy?

12         A.     No.

13         Q.     Okay.     I know from publicly available

14    information on the -- a legal decision that you

15    testified in the grand jury against Ron Fountain.

16    He said that you gave him permission to take that

17    911 recording out of the precinct and use it for

18    whatever reason.          Did you give him permission to

19    do that?

20                         MS. SPENCER:        Objection.       I'm going

21                to direct him not to answer.

22         Q.     Have you spoken with Ron Fountain since

23    you testified against him?
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2                         MS. SPENCER:        Object to form.         You

 3                can answer.

 4         A.     I saw him several occasions, but I don't

 5    remember having any conversation with him.

 6         Q.     Okay.     That incident occurred around the

 7    time of Michael Davis' arrest.                Did that incident

 8    in any way interfere with the handling of the

 9    Michael Davis case from anything that you can

10    describe?       Was Ron Fountain fit for that

11    assignment?       Did he, was there any question about

12    his veracity or anything else as related to the

13    Davis case?

14                         MS. SPENCER:        Object to form.         You

15                can answer.

16         A.     Well, I don't know.           I mean, I wasn't

17    aware that he did that so I don't know how it

18    affected him or it didn't affect him.

19         Q.     Okay.     You weren't aware that he did

20    that, meaning you weren't aware that he took the

21    video and brought it home so someone could copy it?

22         A.     That's correct.         I was not aware of that.

23         Q.     Okay.     So, if he said in a deposition
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    last week that you gave him permission to take

 3    it, would that be false?

 4                         MS. SPENCER:        Object to form.

 5         Q.     You can answer.

 6                         MS. SPENCER:        You can answer that

 7                if you --

 8         A.     Okay.     So, you are asking me if his

 9    statement was true or false?

10         Q.     Yeah.     If he said that you gave him

11    permission to take that 911 recording that he was

12    authorized by you to do that or otherwise had

13    permission; is that untrue?

14                         MS. SPENCER:        Actually, I'm going

15                to direct you not to answer these

16                questions.       It's not relevant to this

17                case.

18                         MR. KLEIN:       It is.     It goes to the

19                central issue, which is credibility, but

20                we'll mark it for a ruling.

21

22                   *COUNSEL REQUESTS COURT RULING*

23         Q.     Let's just -- how about what you did let
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                                                                             9
 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    him answer.       I'll follow up on that.

 3                Sir, you did say you didn't know about

 4    it.    You didn't know the recording was taken

 5    until after some later time after it was removed

 6    from the precinct?

 7          A.    That's correct.

 8          Q.    Okay.    So, no one checked with you before

 9    taking it?

10          A.    That's correct.

11          Q.    Okay.    Would you have permitted it to be

12    removed from the precinct for noncase-related

13    reasons?

14          A.    No.    I would not.

15          Q.    Okay.    Now, because of that, not talking

16    about that case, but did that situation result in

17    a falling out -- withdrawn.

18                Were you Ronald Fountain's, were you

19    either his direct supervisor or one of his direct

20    supervisors in the detective squad at that time,

21    2015, 2016?

22          A.    Indirectly I was his supervisor.                That's

23    correct.
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                                                                             10
 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         Q.     So, was there a falling out on a

 3    professional level between you and him or any

 4    other supervisory staff and Ron Fountain?                    Were

 5    you able to work with him after that?

 6                        MS. SPENCER:        Object to form.

 7         Q.     After that and before he retired were you

 8    able to, were you guys able to work with him,

 9    trust him and otherwise count on him to handle

10    cases correctly?

11         A.     I was able to work with anybody, whether

12    trust was involved or not.             So, I was able to

13    work with him but I don't remember doing a lot of

14    work with him after that.

15         Q.     Because you didn't trust him or because

16    it didn't work out that he was assigned to cases

17    that you were involved with supervising?

18                        MS. SPENCER:        Object to form.         You

19                can answer.

20         A.     I think he went out on sick leave.                 So,

21    he wasn't --

22         Q.     And then he retired?

23         A.     That's correct.
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         Q.     Okay.    To your knowledge did he retire

 3    under the cloud of that case, like related to

 4    that case or was it for -- did he retire for

 5    purely separate reasons of he was going to retire

 6    anyway that following spring of 2016?

 7                        MS. SPENCER:        Object to form.         You

 8                can answer if you know.

 9         A.     I don't know why he retired.              I didn't

10    question it and I didn't speak to him about it.

11         Q.     But as the supervisor of your squad you

12    may have been aware one of your detectives was

13    retiring.      You may have been made aware of it,

14    whether firsthand, secondhand, or rumor, did you

15    ever hear why he retired?

16                        MS. SPENCER:        Object to form.

17         A.     No.    I never heard.

18         Q.     Okay.    The case that you testified

19    against him in, was it still pending when he

20    retired?

21                        MS. SPENCER:        Object to form.

22         A.     Yeah.    Yes.     It was.

23         Q.     Okay.    So, other than the change in
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    duties to like a patrol supervisor like you said

 3    since the incident do you have any additional or

 4    different duties and responsibilities since we

 5    spoke in September of '19?

 6         A.     My additional duties?           Yeah.     I --

 7    scheduling overtime for the movie detail up here.

 8    I'm scheduling for the farmers market.                  I'm

 9    assisting my captain in anything else that's

10    needed so.

11         Q.     Sounds like some admin stuff?

12         A.     Yes.    It's mostly administration.

13         Q.     And do you have any plans to -- how many

14    years do you have on the job now?

15         A.     It will be 37 in September.

16         Q.     Congratulations.         Any plans to retire or

17    you are on the job for the foreseeable future?

18         A.     I'm on the job for the foreseeable

19    future.

20         Q.     Okay.    I'm only asking in the event we

21    need to reach you for trial.              I'll just ask that

22    you stay in touch with counsel if plans change.

23                So, just to remind you -- well,
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    withdrawn.

 3                Have you testified in any deposition

 4    since the Adrian Thomas deposition and up until

 5    today, other than this one today?

 6         A.     No.

 7         Q.     Okay.    To remind you of the rules, just

 8    even if you know the answer to a question, do

 9    what you've been doing which is let me finish the

10    question, leave a little bit of space so the

11    court reporter can hear everything clearly,

12    separate questions and answers.               Okay?

13         A.     Yes.

14         Q.     And also continue to do well with what

15    you've been doing, which is answer with a verbal

16    response rather than a gesture or shake the head,

17    so the court reporter can take it down.                   Okay?

18         A.     Yes.

19         Q.     And if you need a break, let me know.

20    We'll just ask that you answer any pending

21    question before we take a break.                Okay?

22         A.     Yes.

23         Q.     Okay.    Now, directing your attention to
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    February 26th, 2015.          Did you become aware that

 3    an approximate two-year-old child, V.D., died in

 4    Troy?

 5         A.     Yes.

 6         Q.     And how did you become aware of this

 7    incident?

 8         A.     I don't remember.         I remember the patrol

 9    being up there and I don't know if my captain

10    assigned me to go up to help out with the canvass

11    of the neighborhood or I went up on my own.

12         Q.     Okay.    Were you on duty at around 1, 2

13    p.m. on the date of V.D.'s passing, which was

14    February 26th?

15         A.     Yes.    I was.

16         Q.     Okay.    And were you a detective sergeant,

17    so a supervisor in the detective squad at that

18    time?

19         A.     Yes.    I was the detective sergeant.

20         Q.     Were there any other detective sergeants

21    or supervisors on duty in the squad at that time

22    on that tour or were you the supervisor, the

23    sergeant in charge?
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                                                                             15
 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         A.     No.    There were other sergeants there.

 3         Q.     Who else was there?

 4         A.     Sergeant Parrow was there, was in the

 5    office.     I don't know if he was at the scene or

 6    not.      I really don't know.          That's five years

 7    ago.      We've had quite -- we had quite the

 8    turnover since then.           I'm just trying to think.

 9    Jeez, you know what, I really don't know.                    We had

10    a lot of turnover so.

11         Q.     And I heard that Captain Sprague was the

12    captain that day, does that sound right?

13         A.     That's correct.

14         Q.     Okay.    So, was he a detective captain or

15    was he commanding officer of the entire police

16    department?

17         A.     He was the captain in charge of the

18    detective bureau.

19         Q.     Okay.    Was he on duty that day?

20         A.     I believe so.        Yes.

21         Q.     Okay.    So, at some point you became

22    aware, do you know whether it was by radio or

23    someone came in your office and told you, or how
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    did you become aware to the best of your memory,

 3    if you know?

 4         A.     I don't remember.

 5         Q.     Okay.    And so what happened next?

 6    Because there was a death of a child, your squad

 7    would have responded to the scene to see what

 8    happened?

 9         A.     Well, because it was a juvenile case the

10    juvenile officers responded.              I think I was just

11    doing a canvass of the neighborhood.                 I grew up

12    near there so I knew, not everybody involved, but

13    I knew some of the people that may have been

14    potential witnesses.

15         Q.     Who did you know?

16         A.     I knew the owner of Testo's restaurant,

17    Jimmy Testo.

18         Q.     And did you ever speak with Jimmy or were

19    you present when he was interviewed by anyone?

20         A.     I was present and he said that Mr. Davis

21    came in and he tried to use the phone.

22         Q.     Did he say anything else, was Davis

23    frantic, was he calm, what did he say about
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    Davis' demeanor?

 3         A.     I don't remember.

 4         Q.     Okay.    Did you take notes during that

 5    conversation?

 6         A.     I couldn't find any notes in anything,

 7    that I wrote anything down.

 8         Q.     Okay.    Did Jimmy Testo give you

 9    information that was to your knowledge consistent

10    with Mike Davis' statements to either you or your

11    colleagues, that he tried to resuscitate the

12    baby, he went to a neighbor, he went back home,

13    then went to Testo's, then went back home which

14    is when his wife -- the baby's mother was there

15    and EMS was arriving, that general timeline did

16    that jive with what Jimmy Testo told you?

17                        MS. SPENCER:        Object to form.         You

18                can answer.

19         A.     Jimmy Testo said he came in to use the

20    phone.

21         Q.     Okay.

22         A.     And that's about it.

23         Q.     Okay.    Did he overhear the call to your
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    knowledge?

 3         A.     I'm sorry.      What was that?

 4         Q.     Did Jimmy tell you whether he overheard

 5    the call that Mike Davis made?

 6         A.     I think Mr. Davis left Testo's and went

 7    to a neighbor's house to use the phone.

 8         Q.     So he asked to use a phone.              Did Jimmy

 9    Testo tell you whether he used the phone or you

10    don't recall that?

11         A.     I don't recall that.

12         Q.     Okay.    Do you recall anything else about

13    speaking, your interview with Jimmy?

14         A.     No.

15         Q.     Did you interview anyone else from his

16    restaurant, any staff or any patrons of the

17    restaurant?

18         A.     I don't think there were any patrons at

19    the time.      It was lunchtime, but the kitchen is

20    separate from the dining area and I was next to

21    the kitchen when I was asking questions.

22         Q.     And just for the record did this

23    interview take place on the date the child passed
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    away, which was February 26th?

 3         A.     Yes.

 4         Q.     Okay.    So, I guess if you could just walk

 5    us through chronologically.             When you responded

 6    to the location was Testo's the first place you

 7    went or did you do anything else first?                   Take us

 8    through and in order.

 9         A.     Well, I'm pretty sure I got a briefing

10    from the officer at the scene and then we decided

11    to do a canvass of the neighborhood.                 I started

12    with a neighbor across the street, on the, let's

13    see, southeast corner of the intersection.

14         Q.     And what were the results of that

15    canvass?

16         A.     She said she didn't see or hear anything,

17    as far as I can recall.

18         Q.     Okay.    And what else did you do, if

19    anything, other than speak to this neighbor on

20    the corner?

21         A.     I went up and down the block and tried to

22    talk to everybody that was out or saw something

23    or heard something.
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         Q.     Okay.    And did anyone have any

 3    information that was helpful?

 4         A.     Not that I recall.

 5         Q.     Okay.    And how many people did you

 6    interview other than the lady on the corner, was

 7    it two or three people or ten people?

 8         A.     Maybe four or five people.

 9         Q.     And did you conduct this canvass alone or

10    with someone, other officers?

11         A.     I think I was with someone but I don't

12    remember who.

13         Q.     Okay.    And what do you recall doing next?

14    Is that when you spoke with Jimmy Testo or did

15    you do something else first?

16         A.     Jimmy Testo was involved in the entire

17    canvass of the area.

18         Q.     He went with you?

19         A.     No.    He was at his store.

20         Q.     Okay.

21         A.     We -- not Jimmy, but myself and the

22    person I was with went all around the

23    neighborhood trying to find somebody to answer a
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                                                                             21
 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    door or talk to us and during the time we

 3    interviewed Jimmy.

 4         Q.     I see.     The other officer that was with

 5    you, do you believe it was one officer or more

 6    than one other officer?

 7         A.     I think it was just one.

 8         Q.     Do you know if that officer took notes,

 9    given that maybe you were the senior officer, you

10    have a rank and file patrol officer, detective,

11    is it more than likely you had somebody taking

12    notes?

13         A.     I don't remember if they took notes or

14    not.      Generally what we would do is if they

15    answered the door we would write down the

16    address, name and contact information, and I

17    would hand out cards and so would the person,

18    handing out cards.          I didn't write anything down

19    so I don't know if the other person I was with

20    was writing stuff down or not.

21         Q.     You've had a chance to review the file

22    with your counsel, Ms. Spencer in this case, the

23    TPD file in this case?
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         A.     I reviewed some of the file, yes.

 3    Yesterday.

 4         Q.     You haven't seen any notes that appear to

 5    be from this canvass; have you?

 6         A.     No.    I haven't seen any handwritten notes

 7    at all.

 8         Q.     So, does that suggest to you that they

 9    are missing because they would have been done or

10    does that suggest to you they may not have been

11    done?

12         A.     It just may not have been done unless

13    there was some type of witness obviously to see

14    what was going on.

15         Q.     Got you.      Okay.    So, other than -- what,

16    if anything, else transpired on that canvass if

17    not already said?

18                You searched the general vicinity,

19    including Testo's, anything else of significance

20    during the canvass?

21         A.     No.

22         Q.     Okay.    What happened next?

23         A.     I don't remember.
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2          Q.    Did you go to the hospital?

 3          A.    Oh.    I think I was at the hospital prior

 4    to this, prior to going down there.

 5          Q.    Okay.

 6          A.    With the baby and the evidence technician

 7    had come up and started taking pictures and then

 8    I went to the scene after that.

 9          Q.    Okay.    Were you given any information at

10    the hospital by medical staff or anyone else?

11          A.    I don't remember.

12          Q.    Okay.    Did you know that the baby was

13    deceased?

14          A.    Yes.

15          Q.    Okay.    So you at least knew that.              Do you

16    recall whether you knew anything else or do you

17    believe that was basically it?               You had a

18    deceased baby, who you took photos of, and then

19    you went to the scene?           Is that a fair assessment

20    of what you knew at the time or was there more to

21    it?

22          A.    Well, the evidence technician took the

23    photos.     I just went there, I believe we spoke
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    with the mom very quickly.             She was up at the

 3    hospital and then we went to the scene.

 4         Q.     Okay.    And what did you do?            So, you went

 5    to the hospital pre-scene.             Then you canvassed at

 6    the scene.       What other involvement did you have

 7    that day in this investigation?

 8         A.     I believe we may have interviewed Mike

 9    Davis.

10         Q.     Okay.    And so there's about 12 minutes of

11    a cell phone video that was turned on seems like

12    mid interview, not clear at what point.                   That was

13    your cell phone, right?

14         A.     Yes.

15         Q.     Okay.    So, did you have an iPhone at that

16    time or an Android?          Do you remember what kind of

17    phone it was?

18         A.     It's most probably an Android.               I've

19    never had an iPhone.

20         Q.     So, was the interview with Mike Davis the

21    next thing that happened when you went back to

22    headquarters after the canvass or did you do --

23    were there any other investigative steps taken
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    that you can recall?

 3                        MS. SPENCER:        Object to form.         You

 4                can answer.

 5         A.     I remember I took a walk-through of the

 6    scene, but I don't remember if that was before or

 7    after the interviews.           It was probably after when

 8    the search warrant was obtained and we went up.

 9         Q.     Who conducted the interview?

10         A.     It was Ron Fountain and Officer Chuck

11    McDonald.

12         Q.     Okay.    And was Davis -- were you present

13    in the room for the interview?

14         A.     Yes.    I was.

15         Q.     So, it was you, Chuck, Ron and Michael

16    Davis?

17         A.     Correct.

18         Q.     Was anyone else present or observing it

19    even if they were in a different room?

20         A.     No.    The camera -- there were no cameras

21    in the juvenile area.

22         Q.     Okay.    Have you looked at that video to

23    refresh your recollection for today's deposition?
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         A.     No.    I did not.

 3         Q.     Okay.    Do you recall what was said by any

 4    police and/or Mr. Davis or at least remember the

 5    gist of it?

 6         A.     I believe they just wanted to know what

 7    happened in his own words and that was about it.

 8         Q.     And was he cooperative?

 9         A.     Yes.    He was.

10         Q.     And did he give you any information that

11    was incriminating in any way?

12                        MS. SPENCER:        Object to form.

13                        MR. FIRTH:       Objection.

14         A.     I don't understand.          Incriminating how?

15         Q.     As a result of speaking with him did you

16    suspect that he was involved in the child's death

17    or did he not give any -- based on his testimony

18    was it unclear whether there was any crime or not?

19                        MS. SPENCER:        Object to form.

20                        MR. FIRTH:       Objection.

21         Q.     In other words, other officers testified

22    that after interviewing him that day and

23    subsequent days what he said didn't give
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    rise to -- didn't -- wasn't an admission of any

 3    crime.     There was no reason to believe he

 4    committed a crime based on what he said.                   Do you

 5    agree with that?

 6                        MS. SPENCER:        Object to form.         You

 7                can answer.

 8         A.     Well, I only spoke to him the one time I

 9    believe.      I didn't do any follow-up.             So, I

10    really wouldn't know what the other detectives

11    found or didn't find or whether --

12         Q.     On that day fair to say that he didn't

13    admit to any crime and you didn't have grounds to

14    arrest him for any crime at that time?

15         A.     At that time?        No.    He was not arrested.

16         Q.     So, what did he tell you?             Did he just

17    walk you through what happened that morning

18    starting with V woke up and then she went back to

19    sleep and he fell asleep and then woke up and she

20    was unresponsive?         Was it that story that was

21    told to you at that time?

22         A.     Yes.

23         Q.     And that he then went to a neighbor, then
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    went back to V, went to Testo's, and then by the

 3    time he got back from Testo's the mother of the

 4    child was there and the fire department started

 5    coming up.       Was that the gist of what he said?

 6         A.     Yes.

 7         Q.     Okay.    So, based on that description

 8    there was nothing criminal about what he told

 9    you, correct?

10                        MS. SPENCER:        Object to form.         You

11                can answer.

12         A.     That's correct.

13         Q.     Okay.    So, what prompted you to hit

14    record at the time that you did, did you think

15    you guys were getting someplace with him or did

16    you realize we should be recording this, so I'll

17    just hit record, you know, couldn't hurt?                   What

18    was the reason you did that?

19                        MS. SPENCER:        Object to form.         You

20                can answer.

21         A.     Well, like I said, there are no cameras

22    in the juvenile bureau at the time.                 I don't know

23    if there are any right now, but we usually tape
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    our interviews so I hit it and there was a series

 3    of questions we asked him about V and we just

 4    wanted to see exactly, try to piece everything

 5    together.

 6         Q.     You didn't let him know that you hit

 7    record; did you?

 8         A.     I don't recall that.

 9         Q.     Okay.    And were you under any obligation

10    to let him know that?

11         A.     No.    I'm not.

12         Q.     And was he in custody at the time in your

13    view or was that considered noncustodial in your

14    opinion?

15         A.     No.    He wasn't in custody.

16         Q.     So, after that interview what happened

17    next, was he free to leave and did he leave after

18    that?

19         A.     Yes.    He did leave.

20         Q.     And what's the next involvement you had

21    in this investigation?

22         A.     I went to the autopsy.

23         Q.     That was the next day, correct?
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         A.     Yes.    I believe so.

 3         Q.     Okay.    And were you there as the, in your

 4    capacity as the detective sergeant, as a

 5    supervisor of the assigned detectives?                  Were you

 6    supervising this case?

 7         A.     No.    I wasn't supervising this case.                I

 8    went there because I go to most of the autopsies.

 9    Some of the other detectives have younger

10    children and/or grandchildren and it's -- it

11    helps -- to get a better perspective when you

12    don't have younger children and they are doing an

13    autopsy on a young child.

14         Q.     Okay.    So, I know you were at the -- I

15    believe you were at the Adrian Thomas autopsy; is

16    that right?

17         A.     No.    No.    I went to see --

18         Q.     Had you been to other autopsies with Dr.

19    Sikirica other than V.D.?

20         A.     Yes.

21         Q.     How many in your career?

22         A.     With Dr. Sikirica?          I don't know how many

23    in my career, but in my career I probably was at
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    over 200.      But I don't know how many were Dr.

 3    Sikirica.

 4         Q.     Okay.    And Dr. Sikirica testified that

 5    there is a back and forth, give and take

 6    situation with law enforcement at the autopsy

 7    that information is passed back and forth to

 8    assist in working up a theory, so to speak.                    Is

 9    that your -- do you agree that that's the way

10    these things work when you are at these

11    autopsies?

12                        MR. FIRTH:       Objection to form.

13                        MS. SPENCER:        Object to form.         You

14                can answer.

15         A.     Well, we talk.        I mean, it's not like

16    it's a quiet room.          And, you know, we talk about

17    the case, we talk about what his medical findings

18    are, what he thinks, you know, he shows us, he'll

19    take an X-ray, and not just in this case, but in

20    other cases and show you things on the X-rays

21    that I would never see because I'm not a

22    radiologist and, you know, it's kind of like a

23    learning experience for us also.                So, I talk to
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    him, I ask him questions, he answers questions

 3    and that's about it.

 4         Q.     And in this case the Assistant District

 5    Attorney Andra Ackerman was there.                Do you recall

 6    her being there at this autopsy?

 7         A.     Yes.

 8         Q.     Is it customary for an ADA to be there in

 9    this type of autopsy?

10         A.     Yes.    It is.

11         Q.     And was she involved in the discussion

12    amongst law enforcement at the autopsy about what

13    happened and, you know, what people thought of it?

14         A.     Well, I don't know if -- the exact

15    conversations we had with her about what

16    happened, you know, but she is privy to

17    everything that we are, we have in the

18    investigation while she was working with the

19    D.A.'s office.

20         Q.     So, at the autopsy, sometimes they'll

21    show you X-rays.         Do you recall in this case the

22    X-rays were negative for any fractures but the

23    ribs on autopsy were determined to be fractured.
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    Do you remember that?

 3         A.     No.    I don't remember seeing any X-rays,

 4    but I do recall that the ribs were fractured.

 5         Q.     And what else do you recall with regard

 6    to any injuries that you were told or observed or

 7    both?

 8         A.     That the liver might have been lacerated.

 9         Q.     Okay.    And were you told the mechanism of

10    how the liver was lacerated, like were you told

11    the ribs lacerated the liver or something else

12    lacerated the liver, what were you told, if

13    anything?

14         A.     I don't recall.

15         Q.     Detective Fountain left -- told us that

16    he had the impression from that meeting that the

17    ribs lacerated the liver.             Did you have that

18    impression?

19         A.     I don't remember.

20         Q.     What, if anything, else do you remember

21    other than injuries to the ribs and the liver?

22    What were you told?          Did anyone suspect there was

23    child abuse or could there be natural -- let me
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    ask you this.        Withdrawn.

 3                Was there any discussion of there being a

 4    natural death that preceded CPR-related injuries?

 5                        MR. FIRTH:       Objection to form.

 6         Q.     You can answer.

 7         A.     So, was there?

 8         Q.     Michael Davis described --

 9         A.     Yes.    There was -- if that happened prior

10    or after.

11         Q.     Yeah.    And what was discussed in that

12    regard?

13         A.     Well, what do you think?            Would this

14    happen before or after she died?

15         Q.     Okay.    Was there any discussion about

16    whether CPR caused the injuries to the ribs and

17    the liver?

18         A.     Yes.    Probably.

19         Q.     Okay.

20         A.     All or entire of it, yes.

21         Q.     Okay.    Was there any discussion or

22    knowledge shared by anyone at the meeting about

23    the number of chest compressions that were done
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    by fire department staff at the scene?                  Was there

 3    any discussion about the number of attempts they

 4    did at CPR on V?

 5         A.     No.    I don't recall that.

 6         Q.     For instance, do you know who firefighter

 7    Bayly is?      B-a-y-l-y.

 8         A.     No.    I don't.

 9         Q.     He testified at trial that there was 16

10    minutes of chest compressions, a hundred per

11    minute, 16 minutes in the home and then a

12    20-minute ride, a hundred chest compressions per

13    minute on the ride to the hospital.

14                Was there any discussion that there were

15    potentially hundreds of compressions done on V's

16    chest by EMTs?

17         A.     No.

18                        MS. SPENCER:        Object to form.

19         Q.     Dr. Crisafulli from St. Mary's ER, do you

20    know who she is?

21         A.     No.

22         Q.     She's the ER doc that testified at trial.

23    She said there were 30 minutes of chest
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    compressions about a hundred per minute.                   So,

 3    3,000 compressions in the hospital.                 Were you

 4    aware of that either at the time of autopsy or

 5    did you kind of learn it since?

 6         A.     This is -- I don't recall it.               So, this

 7    is --

 8         Q.     So, in total the EMT and the doctor from

 9    the ER testified that in the course of an hour

10    and six minutes approximately there were over

11    6,000 compressions and this came out at trial.

12                As a detective supervisor, if you had

13    known that information through the investigation,

14    is that something you would have absolutely have

15    shared with the D.A.'s office and the medical

16    examiner?

17                        MS. SPENCER:        Object to form.

18         A.     Yeah.    I would have shared that.

19         Q.     I mean, in the context of this case

20    specifically I'm asking you this question to

21    confirm.      Because this was a case where Dr.

22    Sikirica, did he tell you that there was some --

23    that the death was caused by some type of
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    compression injury on the liver?

 3                        MR. FIRTH:       Objection to form.

 4          A.    I don't recall that.

 5          Q.    Okay.    But there was a discussion about

 6    whether CPR efforts or resuscitation efforts may

 7    have caused the death; is that fair?

 8          A.    I don't know.        Possibly.

 9          Q.    Well, not -- well, I don't want you to

10    guess.     Do you recall that that's the type of

11    situation, that's what type of case this was?

12    Mike Davis told you he tried CPR and then you

13    went to the autopsy the next day and she had

14    liver injuries and rib injuries.                Was it discussed

15    whether CPR may have caused those injuries?

16                        MR. FIRTH:       Form objection.

17                        MS. SPENCER:        Object to form.

18          A.    So we did discuss it.           Actually, Mike and

19    I discussed it and I said to Mike Davis where did

20    you learn CPR?        He said he watched it on TV.               So,

21    he didn't take a course.            He wasn't trained in

22    it.    The paramedics are trained.              So they may

23    know how to do CPR better than Mike Davis does.
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         Q.     Are you trained in CPR?

 3         A.     No.    I am not.

 4         Q.     Okay.    Do you know those that are trained

 5    in CPR are trained that it's very likely that

 6    there could be rib fractures and organ damage

 7    even if you are trained in CPR, that's a risk of

 8    CPR properly done, did you know that?

 9                        MR. FIRTH:       Objection.

10                        MS. SPENCER:        Object to form.

11         A.     Sure.    That's a risk.         It's a risk

12    anytime.

13         Q.     So, did you or did you ever cause anyone

14    else to inquire whether the EMTs and hospital

15    staff, whether anyone may have even inadvertently

16    not intentionally but nonetheless improperly did

17    CPR or did it properly in a way that caused

18    injuries to V?        Did you have anyone look into

19    that or look into that yourself?

20         A.     No.    I did not.

21                        MS. SPENCER:        Note my objection to

22                the form.

23         Q.     That being said, if you knew that there
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    were over 6,000 compressions done in the course

 3    of your investigation by people other than Mike

 4    Davis, is that a fact that as a detective

 5    supervisor in all of your experience you would

 6    have thought was important to have shared with

 7    the prosecution if you knew it?

 8                        MR. FIRTH:       Form.

 9                        MS. SPENCER:        Object to form.

10         A.     Yeah.    I would share all information with

11    the prosecutor.

12         Q.     And that's because that may relate to a

13    defense or some other cause of death, right, you

14    don't know, you just would share it because

15    that's important information in a case like this;

16    is that fair?

17                        MS. SPENCER:        Object to form.

18                        MR. FIRTH:       Form.

19         A.     Correct.      I would share it.

20         Q.     But why?      Tell me in your own words why

21    is it significant in this case.

22         A.     Because you want to get to the truth of

23    the matter of what really happened.
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         Q.     Okay.    So, in this case Detective

 3    Sergeant Parrow, your colleague, interviewed

 4    Firefighter Bayley, other firefighters as well.

 5    Were you aware of that generally or have you seen

 6    their supporting deps specifically?

 7         A.     I have not seen their depositions.

 8         Q.     Do you recall being at headquarters

 9    during some or any or all of these interviews?

10         A.     I don't understand.          I wasn't on Mike

11    Parrow's interview I don't believe.

12         Q.     Okay.    So, Mike Parrow's interviews refer

13    to -- withdrawn.

14                Do you know how those interviews, those

15    supporting deps were delegated out to Parrow?

16    Did he step up for it or did you assign people

17    different tasks?         How would he have been involved

18    in that?

19         A.     I was not the lead detective in this and

20    I didn't assign anybody any task.                That would be

21    the captain of the detectives who would assign

22    the tasks and who would determine who was the

23    lead detective.
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         Q.     Okay.

 3         A.     You don't have to be a sergeant to be a

 4    lead detective.         You can be a regular detective

 5    also.

 6         Q.     Okay.    Have you come to learn from any

 7    source up until today that Ron Fountain was aware

 8    that there were thousands of chest compressions

 9    done by -- in the course of the resuscitation

10    efforts by fire and by hospital staff, but didn't

11    disclose it to the prosecutors?               Have you come to

12    learn that?

13                        MS. SPENCER:        Object to form.

14         A.     This is the first time I've heard of it.

15         Q.     Well, I'm not asking -- okay.               Well, do

16    you know if that was a fact that was known to

17    detectives or any officers in Troy but it just

18    wasn't shared with you as a supervisor to your

19    knowledge?

20                        MS. SPENCER:        Object to form.

21         Q.     Come to learn that was known but not

22    shared with you?

23                        MS. SPENCER:        Object to form.
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         A.     It was not shared with me because it

 3    wasn't my case.

 4         Q.     Okay.

 5         A.     Now I'm beyond this.           I had very little

 6    to do with this.

 7         Q.     Did you follow this case when it went to

 8    trial even though you had little to do with it?

 9         A.     No.    I did not.

10         Q.     When the case went to trial and it came

11    out through the prosecution's case when they

12    called Firefighter Bayley and Dr. Crisafulli that

13    there was over 6,000 compressions in an hour, do

14    you remember there being any discussion about it

15    at headquarters or among your colleagues?

16         A.     No.    I do not.

17         Q.     Okay.    Do you recall Dr. Sikirica

18    discussing the issue of CPR-related injuries,

19    whether he rejected them, accepted them, formed

20    no opinion on them, do you recall him discussing

21    whether that was a possibility here?

22         A.     There was a meeting at Dr. Sikirica's

23    office that I attended where he discussed that.
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         Q.     Okay.    So, I believe that's the meeting

 3    on March 12th.        Does that sound right?

 4         A.     Yes.

 5         Q.     Okay.    So, let's just follow in

 6    chronological order, continuing with the autopsy

 7    and then we'll get to that meeting.

 8                So, is there anything else about the

 9    autopsy that you can recall, whether I've just

10    jogged your memory about certain conversations or

11    anything else that we didn't discuss, anything

12    else that you learned or heard there that you

13    didn't say yet?

14         A.     Not that I remember.

15         Q.     Okay.    Did you leave the autopsy thinking

16    that this was a child abuse situation or did you

17    still not know at that time?

18         A.     I didn't know.        I didn't form any opinion

19    until they actually sit down and go over all the

20    case with you.

21         Q.     So, what's the next involvement you had

22    after the autopsy and before that meeting on

23    March 12th, if any?
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         A.     I think that would be about it.

 3         Q.     Okay.    So, let's move forward to the

 4    meeting on March 12th.           According to the

 5    paperwork that I've seen, there's a sign-in

 6    sheet, and I'm just going to refer to it to let

 7    you know who I think was there.               Do you remember

 8    who was there?

 9         A.     Adam Mason was there.

10         Q.     Okay.

11         A.     Fountain was there.          I'm not sure if

12    Chuck McDonald was there or not.                Dr. Sikirica.

13    Maybe another person.           I don't know if the

14    captain was there or not either, Captain Sprague.

15         Q.     All right.      Just one sec.

16                        MR. KLEIN:       Off the record.

17                        (Whereupon, a discussion was held

18                off the record.)

19                        (Colaneri Exhibit No. 1, 3/12/15

20                Sign-in Sheet, marked this date for

21                identification.)

22         Q.     Sergeant, is this the sign-in sheet from

23    March 12th, 2015, that you were referring to?
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         A.     Yes.

 3         Q.     And so this confirms that Dr. Sikirica,

 4    ADA Ackerman, Michael Parrow, Ron Fountain, Tim

 5    Colaneri, and Adam Mason were present.                  Does that

 6    sound right?

 7         A.     Yes.    It does.

 8         Q.     Okay.    So, what was the agenda at the

 9    meeting and what was actually, what was, in fact,

10    discussed there?

11                        MR. FIRTH:       Objection.

12         A.     We had discussed findings of the autopsy.

13         Q.     And had there been any discussions since

14    the autopsy up until that day or was this like a,

15    just a recap of approximately two weeks later to

16    see where things were at that point with Dr.

17    Sikirica?

18         A.     What was the first part about any other

19    discussions?

20         Q.     Yeah.    Had there been any discussions

21    with Dr. -- informally not in a meeting but maybe

22    by phone or e-mail leading up to this meeting

23    or was this the next meeting after the autopsy
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    to meet with Dr. Sikirica to see where the

 3    investigation was?

 4         A.     I think this was the next thing.

 5         Q.     Okay.    So, what was discussed at this

 6    meeting either specifically and if you don't know

 7    specifically then at sum and substance?

 8         A.     Well, sum and substance it was the cause

 9    of V.D.'s death.

10         Q.     And what was said in that regard?                Did

11    Dr. Sikirica opine or Dr. Ron Fountain give his

12    beliefs based on the investigation so far and was

13    that teased out with Dr. Sikirica?                How did it

14    go, the conversation?

15                        MS. SPENCER:        Object to form.

16                        MR. FIRTH:       Same objection.

17         A.     I don't recall the whole conversation at

18    all.

19         Q.     Okay.    Well, what part of it do you

20    recall?     Do you recall was the meeting led by Ron

21    Fountain because this was his case, was it led by

22    Dr. Sikirica, was it collaborative?

23         A.     I don't remember.
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         Q.     Okay.    Do you remember anything about the

 3    meeting other than there was a meeting?

 4         A.     I don't remember attending the meeting so.

 5         Q.     Okay.    Adam Mason testified that he

 6    recalled that there was discussion about whether

 7    he should do the next interrogation of Michael

 8    Davis and he didn't think he should and so he

 9    didn't do it.

10                Do you remember there being any

11    discussion of Adam Mason getting involved in the

12    interrogation?

13                        MS. SPENCER:        Object to form.         You

14                can answer.

15         A.     No.    I don't remember.

16         Q.     Okay.    So, after the autopsy and prior to

17    this meeting on March 2nd, there was a video

18    interrogation done by Adam, by Ron Fountain with

19    McDonald listening in.           Were you aware of that at

20    the time?

21         A.     No.

22         Q.     Okay.    Well, do you know if that recording

23    and that video was given to Dr. Sikirica at that
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    meeting or in advance of that meeting?

 3         A.     I don't remember.

 4         Q.     Okay.    Dr. Sikirica relies on that

 5    interview in his testimony and references, you

 6    know, a large hand in his autopsy report and he

 7    testified that he looked at the video.                  Do you

 8    know when he looked at the video?

 9                        MS. SPENCER:        Object to form.

10                        MR. FIRTH:       Same objection.

11         A.     I don't know.

12         Q.     Okay.    In other words, do you recall even

13    if you -- I'm jogging your memory now, do you

14    recall there being a discussion of at the meeting

15    that Mike Davis said the following in his

16    interview, how does this line up, if at all, of

17    what happened with V?           Do you recall that being

18    the direction of the conversation?

19                        MS. SPENCER:        Object to form.

20         A.     I don't remember the conversation.

21         Q.     Okay.    Well, do you remember the general

22    topics that were discussed?

23         A.     No.    I don't.
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         Q.     Okay.    You have no recollection of

 3    anything that was said at the meeting?

 4                        MS. SPENCER:        Object to form.

 5         A.     No.    I don't.

 6         Q.     Okay.    Do you have any recollection of

 7    what was -- what was the result of the meeting?

 8    Were there any action items for you guys to

 9    pursue in terms of investigation?                Were you just

10    waiting for Sikirica to finish his report?                    What

11    was the direction at that point after that

12    interview, that meeting?

13                        MS. SPENCER:        Object to form.

14         A.     I'm not sure.        I know that other people

15    were investigating it and I was not.

16         Q.     Okay.    So, what, if any, involvement did

17    you have in this case after that meeting?

18         A.     I went to -- when he was arrested I was

19    watching the back stairs, when Mike Davis was

20    arrested.

21         Q.     So, at some point he -- prior to that my

22    understanding he was indicted pre-arrest.                   Was

23    that your understanding as well?
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         A.     Yes.

 3         Q.     And before the indictment there's been

 4    testimony about meetings with the D.A. before the

 5    case went to the grand jury.              Were you involved

 6    in any pre-grand jury meetings?

 7         A.     I don't think so.         My son was diagnosed

 8    with cancer during all of this, around March that

 9    year, and I was taking a lot of time off and was

10    not really assigned any tough cases.

11         Q.     Okay.    I'm sorry about that diagnosis.

12                So -- I'm just trying to know if you

13    remember anything else other than watching the

14    back door when Mike Davis came in and

15    surrendered.        Do you remember any other

16    involvement in this case?

17         A.     I think it was on the second floor and it

18    was rickety stairs in the back.               I remember that.

19    And I said we've got to be careful if we are

20    going to bring him down these stairs.

21         Q.     Okay.

22         A.     He's a big guy.

23         Q.     He's a big guy.        After he surrendered and
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    was processed did you ever see him after that?

 3         A.     No.

 4         Q.     Did you ever have any meetings with any

 5    of your detectives or colleagues about this case

 6    after that?

 7         A.     No.

 8         Q.     Did you have any involvement in the

 9    trial, whether at the time of trial or since the

10    trial at any kind of postmortem lookback to see

11    what went wrong?

12         A.     No.

13         Q.     Did you ever come to learn what went

14    wrong in this case, why Mike Davis was found not

15    guilty?

16                        MS. SPENCER:        Object to the form.

17                        MR. FIRTH:       Same objection.

18         A.     I did not.      I did not follow the case.

19         Q.     Okay.    If officers in your detective

20    squad were aware of hundreds or thousands of

21    chest compressions done but didn't disclose that

22    in a case like this where there's a liver injury,

23    based on your training, education, and experience
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    would you consider that to be Brady material that

 3    should be disclosed?

 4                        MR. FIRTH:       Objection.

 5                        MS. SPENCER:        Object to the form.

 6                If you know.

 7         A.     I think it should have been discussed

 8    wholly with all the parties involved, the D.A.'s

 9    office, the detective bureau, you know, and even

10    if CPS was involved in this and the fire

11    department but, like I said, I can't say whether

12    they did or did not.

13         Q.     Well, hypothetically it may have been

14    withheld from you if you don't know about it.

15    I'm just asking you based on your training,

16    education, and experience you know and you knew

17    as a detective sergeant what Brady material was,

18    right?

19         A.     Yes.

20                        MS. SPENCER:        Note my objection.

21         Q.     Evidence which may -- and what is your

22    understanding what Brady is just for the record?

23         A.     If you know something that could affect
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    the outcome of the case you should have it out in

 3    the open.

 4         Q.     Okay.    So, is that -- so, would this -- I

 5    just want to know if you agree, would this

 6    information if it was known to detectives in your

 7    opinion would that constitute Brady material

 8    based on your training, education, and experience?

 9                        MS. SPENCER:        Object to form.

10                        MR. FIRTH:       Same objection.

11         A.     It may.     Yeah.     It should.

12         Q.     Okay.

13                        MR. KLEIN:       Anybody need like a

14                five-minute break?

15                        MS. SPENCER:        I'm all set unless

16                you guys need it.

17                        MR. FIRTH:       If you need one, Brett,

18                we can.

19                        MR. KLEIN:       You know, I'm just

20                going to do a scan here.

21                        (Recess taken at 2:25 p.m.;

22                proceedings resumed at 2:30 p.m.)

23         Q.     Sergeant, after the Court of Appeals
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    handed down the decision in the Adrian Thomas the

 3    year before this, which was 2014, were any

 4    changes in procedures, guidelines or techniques

 5    implemented in the detective squad with regard to

 6    interrogations?

 7         A.     I don't know.

 8         Q.     Okay.    Did you ever have any -- were any

 9    changes made even if informally, whether they

10    were made by you or whether you were advised of

11    any changes or recommendations?

12         A.     Sometimes there are changes made

13    informally, sometimes they are in the form of a

14    general order.        I don't recall anything that came

15    out right after Adrian Thomas' interview or the

16    Court of Appeals rather.

17         Q.     Are you aware of any other cases, whether

18    you knew it at the time or you've come to learn

19    since where Ron Fountain was not fully candid

20    about the facts that he learned during an

21    investigation?

22                        MS. SPENCER:        Object to form.

23         A.     No.    I don't -- never heard of anything
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    like that before.

 3         Q.     Okay.    Other than what the Court of

 4    Appeals said about him and essentially Mason in

 5    that decision about their techniques resulting in

 6    a violation of due process, have you ever heard

 7    whether within the department or from any court

 8    or any other source that he has engaged in any

 9    improper behavior, other than the case with the

10    911 call as well?

11                        MS. SPENCER:        Object to form.         You

12                can answer.

13         A.     No.    I have not.

14         Q.     Had you ever had any dealings with

15    Michael Davis other than your involvement in the

16    investigation of this case?

17         A.     No.    I don't think so.

18         Q.     Did you know any of the other witnesses

19    other than Jimmy Testo?

20         A.     No.

21                        MR. KLEIN:       Okay.     So, I want to

22                thank you for your time and cooperation.

23                That's all the questions I have.
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 1    [TIMOTHY COLANERI - By Mr. Firth]

 2                        THE WITNESS:        Okay.

 3                        MS. SPENCER:        Do you have any

 4                questions, Bill.

 5                        MR. FIRTH:       Yes.

 6   BY MR. FIRTH:

 7         Q.     Sergeant, just a few.           Did you ever have

 8    any conversations with Joel Abelove about this

 9    investigation or any aspect of this case at any

10    time?

11         A.     Perhaps when it first started, the first

12    week or two, but I don't recall if I sat down

13    with him or not.

14         Q.     Okay.

15         A.     Andra Ackerman was doing the case as far

16    as I knew.

17         Q.     Right.     Do you specifically recall

18    meeting with Joel though?

19         A.     No.    I do not.      I met with Joel several

20    times in the course when he was the district

21    attorney, but I can't give you specifics about

22    what cases we discussed or anything like that.

23    I, you know, I don't remember.
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         Q.     That's fair.       Were you aware of any

 3    personal involvement on his part with regard to

 4    this investigation of this case?

 5                        MR. KLEIN:       Object to the form.

 6                You can answer.

 7         A.     No.    I'm not aware of anything he did

 8    personally on this case.

 9         Q.     Okay.    Do you recall whether he was at

10    that March 12 meeting that we've been talking

11    about here today?

12         A.     No.    I don't recall if he was there.

13    Other than if he's on the sign-in sheet or not.

14    I don't think he's on the sign-in sheet so he

15    probably wasn't there.

16                        MR. FIRTH:       Okay.     Very good.       No

17                further questions.          Thank you.

18   BY MR. KLEIN:

19         Q.     In your experience did Joel Abelove

20    closely -- did he have a hands-on approach with

21    high profile cases?

22         A.     Repeat that.       You were broken up a little.

23         Q.     The cases that you spoke with Joel
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    Abelove about, did he have a hands-on approach in

 3    certain or some cases?

 4                        MR. FIRTH:       Objection.

 5         A.     You are breaking up a little bit.

 6         Q.     Sure.    Maybe it's just a bad connection.

 7    I'll ask it again.

 8         A.     Okay.

 9         Q.     In your experience did Joel Abelove take

10    a hands-on approach in some or certain types of

11    cases?

12         A.     Yeah.    Some cases he'll work on them and

13    other cases, you know, he won't.                I mean, I knew

14    Joel when he was assistant district attorney and

15    he was hands on.         And on other cases he relies on

16    his assistant district attorneys to take them to

17    trial or conclude them however the D.A.'s office

18    feels that they can be concluded.

19         Q.     Okay.    So, whether he was personally

20    involved in the investigation of this case, you

21    just don't know, he may have been, he may not

22    have been, you just can't state whether you know

23    that from personal knowledge, correct?
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         A.     Correct.      I never spoke to him about this

 3    case.

 4         Q.     Right.     But whether Andra Ackerman was

 5    consulting with him every step of the

 6    investigation or not, you don't know that?

 7         A.     No.    That would be between him and Andra

 8    Ackerman.

 9         Q.     Right.     Or maybe he told you.            But you

10    are not aware from any source of what his

11    involvement was, are you?

12                        MR. FIRTH:       Objection to form.

13         A.     No.

14                        MR. KLEIN:       All right.       That's all

15                the questions I have.

16                        MS. SPENCER:        Any follow-up?

17                        MR. FIRTH:       No follow-up.

18                        (Whereupon, the testimony of

19                TIMOTHY COLANERI concluded at 2:40 p.m.)

20

21

22

23
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 2

 3        STATE OF NEW YORK

 4        COUNTY OF ____________________

 5

 6

 7                I have read the foregoing record of my

 8   testimony taken at the time and place noted in the

 9   heading hereof, and I do hereby acknowledge it to

10   be a true and correct transcript of same.

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 2                      C E R T I F I C A T I O N

 3

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 5   Reporter and Notary Public in and for the State of

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 8   of my knowledge, skill and ability on the date and

 9   place hereinbefore set forth.

10                I FURTHER CERTIFY that I am not related

11   to or employed by any of the parties to the action

12   in which the proceedings were taken, or any

13   attorney or counsel employed in this action, nor am

14   I financially interested in the case.

15                IN WITNESS WHEREOF, I have hereunto set

16   my hand this 18th day of June, 2021.

17

18

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     If he said that you gave him permission to                        8
17   take that 911 recording that he was
     authorized by you to do that or otherwise
18   had permission; is that untrue?

19

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 2                                     DEPOSITION of ADAM MASON

 3

 4   UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF NEW YORK
 5   ----------------------------------------------X
     MICHAEL DAVIS-GUIDER,
 6
                                Plaintiff,
 7
     -against-                  Civil Case No.: 1:17-cv-01290
 8                              (FJS/DJS)

 9   CITY OF TROY, RONALD FOUNTAIN, Individually,
     DANIELLE COONRADT, Individually, CHARLES
10   MCDONALD, Individually, TIM COLANERI,
     Individually, ADAM R. MASON, Individually,
11   RENSSELAER COUNTY, MICHAEL SIKIRICA,
     Individually, and JOEL ABELOVE,
12   Individually,

13                      Defendants.
     ----------------------------------------------X
14

15        DEPOSITION of the Defendant, ADAM MASON, held

16 on May 21, 2021, commencing at 1:20 p.m., being

17 held virtually by Zoom, pursuant to Notice; before

18 Susan Florio, a Registered Professional Reporter

19 and Notary Public in and for the State of New

20 York.

21

22

23
         Susan Florio, RPR - Professional Reporting Service - (518)887-2733
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 1

 2                       S T I P U L A T I O N S

 3 IT IS HEREBY STIPULATED AND AGREED by and between

 4 the parties hereto, that all rights provided by the

 5 F.R.C.P. including the right to object to any

 6 question except as to the form, or to move to

 7 strike any testimony at this examination, are

 8 reserved, and, in addition, the failure to object

 9 to any question or move to strike testimony at this

10 examination shall not be a bar or waiver to make

11 such motion at, and is reserved for, the trial of

12 this action;

13 It is further stipulated and agreed that this

14 examination may be sworn to by the witness being

15 examined before a Notary Public other than the

16 Notary Public before whom this examination was

17 begun;

18 It is further stipulated and agreed that the filing

19 and certification of the original of this

20 examination are waived;

21                It is further stipulated and agreed that

22   the examining party will furnish the examined

23   party with a copy of the transcript free of charge.
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 1

 2                              ADAM MASON,

 3   having been first duly sworn/affirmed remotely by

 4   the notary public, was examined and testified as

 5   follows:

 6

 7   BY MR. KLEIN:

 8         Q.     Good afternoon, Captain Mason.                We've met

 9    before, right?

10         A.     Yes.     We have.

11         Q.     We met specifically in your deposition in

12    the Adrian Thomas case.             Is that correct?

13         A.     That's correct.

14         Q.     And that was conducted on September 12th,

15    2019.     Does that date sound about right?

16         A.     Yes.

17         Q.     Okay.     And on that date you were asked

18    questions and gave answers under oath in the same

19    conference room that you are in today with Ms.

20    Spencer, correct?

21         A.     Yes.

22         Q.     Okay.     Have you looked at that transcript

23    before today's proceedings to refresh your
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 1    [ADAM MASON - By Mr. Klein]

 2    recollection of any prior testimony in that case?

 3         A.     From the Adrian Thomas case?

 4         Q.     Yes.

 5         A.     So, I have not had an opportunity to

 6    review the entire transcript, but I reviewed

 7    maybe a hundred, the first hundred pages of it.

 8         Q.     And to the best of your knowledge were

 9    your answers all true, truthful and accurate?

10         A.     Yes.

11         Q.     Okay.     We're going to try to save your

12    time and try not to rehash your entire background

13    and career.        You know, we've gone through it in a

14    prior transcript.          So, unless there's any

15    objection from counsel, which I don't think there

16    is, we are going to try to incorporate that if we

17    need that prior testimony for trial.

18                         MR. KLEIN:       No one has any

19                objection to that ^ question mark?.

20                         MR. FIRTH:       No objection.

21         Q.     So, Captain, I just want to ask you

22    since -- well, just remind you that there are

23    certain rules of the deposition.                 First is let me
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 1    [ADAM MASON - By Mr. Klein]

 2    finish a question, even if you know the answer,

 3    and wait a second or two before you answer so

 4    that Ms. Florio, the court reporter, can take

 5    everything down.          Okay?

 6         A.     Yes.

 7         Q.     And if you don't understand something I'm

 8    asking you and you don't hear an objection from

 9    your counsel about it, you can always ask me to

10    rephrase or explain something.                Okay?

11         A.     Yes.

12         Q.     Otherwise, we will assume for the record

13    that you understood it if you don't question it

14    and you answered it.           Okay?

15         A.     Yes.

16         Q.     Okay.     Further, is there any reason why

17    you can't testify fully and accurately today?

18         A.     No.

19         Q.     Have you worked overnight, have you taken

20    or not taken any necessary medication, or is

21    there any other reason why you might not be able

22    to testify truthfully or accurately today?

23         A.     No.
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 1    [ADAM MASON - By Mr. Klein]

 2         Q.     You feel well enough and you had

 3    sufficient time to prepare?

 4         A.     Yes.

 5         Q.     Okay.     Finally if you need a break, let

 6    me know.      We'll just ask you answer any pending

 7    question before we take a break.                 Okay?

 8         A.     Yes.

 9         Q.     Okay.     Captain, since your deposition in

10    Adrian Thomas on or around September 12th of 2019

11    what have your duties and responsibilities been

12    at Troy PD since that time?              Did you get your

13    promotion since that time or were you a captain

14    in September of '19?

15         A.     I was a captain at that point.

16         Q.     Okay.     When did you get promoted?

17         A.     October of 2018.

18         Q.     Okay.     And you joined the force, the

19    department, was it in '97?

20         A.     Yes.

21         Q.     Okay.     And when you got promoted to

22    captain was that pursuant to taking an exam or

23    was it you were recommended ^ CHECK from it or
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 1    [ADAM MASON - By Mr. Klein]

 2    something else?

 3         A.     There was an exam.

 4         Q.     Okay.     And what have your duties been

 5    since you've been a captain, have you been -- are

 6    you the, you know, tour commander, do you have

 7    some other responsibilities, administrative?

 8    What are your duties since you've been captain up

 9    until today?

10         A.     When I was initially promoted I was in

11    charge of the internal affairs.

12         Q.     Okay.

13         A.     And then in January of 2020 I moved over

14    to the detective bureau.

15         Q.     Okay.     And what were the circumstances of

16    that move, was it a voluntary move on your part

17    or was it some type of, you know, move that was

18    done by the department because of any type of

19    disciplinary or what was the nature of that move?

20                         MS. SPENCER:        Object to form.         You

21                can answer.

22         A.     It was a voluntary move.             The person that

23    was previously the captain of the detective
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 1    [ADAM MASON - By Mr. Klein]

 2    bureau retired, at which point there was an

 3    opening and I transitioned into that position.

 4         Q.     Okay.    And so what are your supervisory

 5    responsibilities now in this capacity, what do

 6    you do, do you supervise all investigations,

 7    misdemeanors, felonies?

 8         A.     Yes.

 9         Q.     Okay.    How many -- do you supervise the

10    detective squad?

11         A.     Yes.

12         Q.     Is there one detective squad or are there

13    different types of squads?             Like, for instance, a

14    robbery squad, a homicide squad, or does TPD just

15    have one squad?

16         A.     We have one squad.

17         Q.     Okay.    The unit that Officer Fountain was

18    in before he left the department he described it

19    as a juvenile?        What would you call that,

20    juvenile unit?

21         A.     Yes.

22         Q.     Is that part of the detective squad or

23    bureau or something different?
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 1    [ADAM MASON - By Mr. Klein]

 2         A.     It's part of the same detective bureau.

 3         Q.     Okay.    So, he was part of the detective

 4    bureau, but that's a subset, a sub arm of the

 5    detective bureau, fair to say?

 6         A.     Correct.

 7         Q.     Okay.    Was there anyone else in his

 8    capacity in 2015 in that juvenile unit other than

 9    him or was it just him?

10         A.     Typically there will be two people

11    assigned to that unit.           I don't recall if there

12    was someone else assigned to that unit with him.

13    I'm assuming there would have been.                 I don't

14    recall who.

15         Q.     Okay.    When did you become captain again,

16    what month and year?

17         A.     October of 2018.

18         Q.     Okay.    So, directing your attention to

19    February 26th of 2015, did you come to learn that

20    there was a death of an infant, V.D., within your

21    jurisdiction that was subsequently investigated

22    and prosecuted until there was -- through an

23    acquittal?
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 1    [ADAM MASON - By Mr. Klein]

 2         A.     Yes.

 3         Q.     Okay.    And the person who was arrested

 4    and ultimately acquitted of those charges

 5    ^ comma? found not guilty was Michael Davis?

 6         A.     Yes.    I was aware.

 7         Q.     Were you personally involved in that

 8    investigation in any regard?

 9         A.     Yes.

10         Q.     Can you -- is it -- just an initial

11    matter, administratively, so to speak, was this

12    Ronald Fountain's case, was he the case officer

13    or detective?

14         A.     Yes.

15         Q.     Was he a detective or was he technically

16    rank of police officer at the time?

17         A.     So, he was the rank of a police officer.

18    There is no such thing of the rank of detective.

19    But because he worked in the detective bureau was

20    considered a detective.            Civil service his rank

21    was police office.

22         Q.     In February of 2015 what was your rank,

23    were you a detective sergeant at the time?
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 1    [ADAM MASON - By Mr. Klein]

 2         A.     Yes.

 3         Q.     And was that the rank that you held since

 4    and including the time of your involvement in the

 5    Adrian Thomas case in 2008?

 6         A.     Yes.

 7         Q.     Okay.    So, were you working on February

 8    26th, 2015, when the case came in or did you get

 9    involved after that date?

10         A.     I believe I was working on that date.

11         Q.     Were you Ronald Fountain's direct

12    supervisor or one of his direct supervisors on

13    that date?

14         A.     No.

15         Q.     Who was?

16         A.     He answered directly to Captain Sprague.

17         Q.     Was Captain Sprague the captain similar

18    to the rank you have now of the detective squad?

19         A.     Yes.

20         Q.     Okay.    Is Captain Sprague still with the

21    department or has he moved on?

22         A.     He's currently retired.

23         Q.     Okay.    So, do you currently fill the
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 1    [ADAM MASON - By Mr. Klein]

 2    shoes, so to speak, or the duties and

 3    responsibilities that he had at that time?

 4         A.     Yes.

 5         Q.     Okay.    In connection with today's

 6    deposition have you reviewed any documents,

 7    transcripts, photographs, or anything else,

 8    videos or anything else to refresh your

 9    recollection of the incident?

10         A.     I only looked at one document and that

11    was a document that was shown to me in this

12    office yesterday, which was a signed sheet in

13    regards to a meeting that I attended.                  Other than

14    that, I have not reviewed any other documents in

15    regards to this case.

16         Q.     Okay.    And the approximate date of that,

17    was that for the autopsy or a couple days after,

18    do you know what meeting that was?

19         A.     It was a meeting at Dr. Sikirica's

20    office.     I do not recall the date of the meeting.

21         Q.     Okay.    We'll show you that and get into

22    that in a minute.         Other ^ than? a sign-in sheet

23    indicating where you were present, in fact, did
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 1    [ADAM MASON - By Mr. Klein]

 2    you see your signature on the sign-in sheet?

 3         A.     Yes.

 4         Q.     Other than seeing that signature on that

 5    sign-in sheet are you aware of any other

 6    documents that you either drafted, typed or

 7    otherwise created or signed in this case?

 8         A.     No.

 9         Q.     Other than looking at the document, the

10    sign-in sheet with Dr. Sikirica's meeting, so to

11    speak, that you signed, did you prepare any other

12    notes -- withdrawn.          Have you reviewed any other

13    notes, documents, photos, videos, even a photo of

14    Michael Davis or anything else to refresh your

15    recollection?

16         A.     No.

17         Q.     Do you maintain or is the original case

18    file for this matter maintained in your office at

19    the detective squad at TPD headquarters?

20         A.     I don't -- it's not maintained within the

21    offices of the detective bureau.                I assume that

22    it would be maintained somewhere within the

23    department.        That would be the normal course of
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 1    [ADAM MASON - By Mr. Klein]

 2    business, but I have not personally seen it there

 3    to verify that it is, in fact, there today.

 4         Q.     Okay.    Given that your rank in that

 5    bureau or this squad, have you been involved in

 6    any way without disclosing any communications to

 7    counsel, have you been involved in reviewing the

 8    file and transmitting it to lawyers in the case,

 9    the actual case documents?

10         A.     For this particular case?

11         Q.     Yes.

12         A.     No.

13         Q.     Are there admin people that do that or

14    just other detectives, who would pull the file

15    and look at it and review it and turn it over?

16         A.     Typically maybe the person that was

17    working the case that would do it ^ CHECK in.                     In

18    this particular case I honestly have no idea who

19    did it.

20         Q.     And that's because Ron Fountain resigned

21    from the department in early 2016 approximately

22    before the trial of this case, after the arrest

23    and before the trial, correct?
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 1    [ADAM MASON - By Mr. Klein]

 2         A.     Yes.

 3                        MS. SPENCER:        Object to form.         He

 4                retired.

 5         Q.     And is it your understanding that Ron

 6    Fountain resigned after the incident where he

 7    took a 911 recording on his phone, out of the

 8    detective squad office and brought it to his home

 9    to give it to someone who copied it?                 In sum or

10    substance is that the incident that took place

11    around the time of the arrest in this case in

12    October of 2015?

13                        MS. SPENCER:        Object to form.         He

14                retired.      You can answer that question.

15         A.     I know that Ron Fountain retired after

16    the incident that you are referring to.                   I don't

17    know when it was, but he retired after that

18    incident, yes.

19         Q.     So, just briefly what was your

20    involvement in that matter because it relates to

21    the timeline here, it overlaps with that time

22    that Michael Davis was arrested.                Were you

23    present when that recording was reviewed,
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 1    [ADAM MASON - By Mr. Klein]

 2    transmitted, discussed in any way?                What was your

 3    role in that incident?

 4

 5                   *COUNSEL REQUESTS COURT RULING*

 6

 7                        MS. SPENCER:        I'm going to object

 8                and direct the detective not to answer

 9                these questions.         Unless we have the

10                court get involved and say that it is

11                appropriate, I just don't feel like this

12                is an appropriate inquiry at this time.

13                I don't see the connection to the

14                timeline you are referring to.               If you

15                would like to call the judge and see if

16                this is appropriate you can.              Otherwise

17                we'll be prepared to recall Detective

18                Mason if it comes down to it, or Captain

19                I apologize.       But I am at this point not

20                going to have him go through that.

21                        MR. KLEIN:       Okay.     So, Ms. Florio,

22                we'll mark this for a ruling and what

23                I'll do is see if there's any other
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 1    [ADAM MASON - By Mr. Klein]

 2                matters to take up the court and see if

 3                we can reach a court today or do it by

 4                letter and we'll figure out what to do

 5                before we close today.

 6         Q.     Let me ask you this -- and, Rhiannon, let

 7    me know if we can do a few close-up questions

 8    even if you object to some of it.                Maybe you'll

 9    allow these without objection to resolve this.

10                I just want to ask about your publicly

11    available, the decision People versus Fountain

12    indicating that you were granted immunity and

13    testified against Ron Fountain.

14                Have you spoken with him since you

15    testified against him?

16                        MS. SPENCER:        You can answer that.

17         A.     Can you repeat that question?

18         Q.     Did you testify in the grand jury against

19    Ron Fountain?

20         A.     Yes.

21         Q.     And did you receive immunity before you

22    testified ^ CHECK from the prosecution?

23                        MS. SPENCER:        You can answer.
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 1    [ADAM MASON - By Mr. Klein]

 2         A.     I didn't have anything that I could

 3    receive immunity for.

 4         Q.     Well, I believe I read a decision.                 I can

 5    pull it up.       You know, that you and Colaneri both

 6    testified and both received immunity, whether or

 7    not you needed it did you receive immunity?

 8                        MS. SPENCER:        Answer if you know.

 9         A.     I honestly don't know if that was, if

10    that's a normal course that they would have

11    granted me immunity.

12         Q.     Okay.

13         A.     But let the record state that it was

14    not -- that wasn't a concern of mine.                  I'm not

15    sure what you think may have occurred in that

16    situation but there was not -- there was no one

17    that represented me that had me have immunity for

18    that type of, for that situation.

19         Q.     Did Ron Fountain violate the rules and

20    regulations of the Troy PD when he put a 911 call

21    about a mayoral candidate's family on his phone

22    and then took it home so someone could copy it?

23                        MS. SPENCER:        Object.      I'm not
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 1    [ADAM MASON - By Mr. Klein]

 2                going to let him answer that one, Brett.

 3                Sorry.

 4                        MR. KLEIN:       We'll mark that for a

 5                ruling to get to the factual details if

 6                the court will permit it.

 7

 8                   *COUNSEL REQUESTS COURT RULING*

 9

10         Q.     Have you had any conversations with Ron

11    Fountain since he left the department?

12                        MS. SPENCER:        You can answer that.

13         A.     I don't recall having any conversations

14    with him since then.           I may have bumped into him

15    at one point and said hello.              But as far as

16    conversations I don't recall having any

17    conversations with him since he retired.

18         Q.     And how would you characterize your

19    relationship with him since that case, has it

20    been contentious, no contact whatsoever other

21    than running into him or something else?

22

23                   *COUNSEL REQUESTS COURT RULING*
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 1    [ADAM MASON - By Mr. Klein]

 2

 3                        MS. SPENCER:        I'm going to direct

 4                him not to answer.

 5                        MR. FIRTH:       What case are you

 6                asking about, Brett.

 7                        MR. KLEIN:       Where he testified

 8                against him in the grand jury.

 9                        MS. SPENCER:        We can mark that for

10                a ruling as well.

11         Q.     Well, let's go back to --

12                        MS. SPENCER:        I'd like to take a

13                break for a second.

14                        MR. KLEIN:       Sure.

15                        (Whereupon, there was a pause in

16                the proceedings.)

17         Q.     Anything you want to add, Captain?

18         A.     No.

19         Q.     Is it your understanding that the

20    incident happened on February 26th, 2015, the

21    incident where V.D. passed away?

22         A.     Yes.

23         Q.     And that Michael Davis was arrested on or
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 1    [ADAM MASON - By Mr. Klein]

 2    about October 2nd, 2015?

 3         A.     I don't recall when he was arrested.

 4         Q.     Okay.    Do you recall --

 5                        MS. SPENCER:        Brett, can you put on

 6                your camera so we can see when you are

 7                not talking?

 8                        MR. KLEIN:       Yes.

 9         Q.     Do you recall it being several months

10    after the death of V.D.?

11         A.     I honestly didn't know.

12         Q.     Okay.    And do you recall that there was a

13    trial approximately a year later in August of

14    2016?

15         A.     I recall there was a trial.              I don't

16    recall when the trial was.

17         Q.     Okay.    At the time of trial based on your

18    dealings with Ronald Fountain -- withdrawn.

19                At the time of trial did you know that

20    Ron Fountain was the lead witness for the Troy PD

21    in that case?        In other words, Ron Fountain

22    testified about his dealings with Michael Davis,

23    Dr. Sikirica testified about the autopsy and
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 1    [ADAM MASON - By Mr. Klein]

 2    there was some medical and fire department

 3    witnesses?       Do you have an understanding that

 4    those were the general witnesses in the case

 5    generally, even if you didn't know exactly?

 6                        MS. SPENCER:        Object to the form.

 7                You can answer if you know.

 8         A.     I don't know.        I know that Ron Fountain

 9    was the lead investigator in that case but at the

10    time of the trial with the case, I wasn't

11    following the trial so I don't know who would

12    have testified.         I know it's typical for the

13    medical examiner and fire personnel to testify in

14    such a trial, but I don't have any direct

15    knowledge of ^ CHECK how those witnesses are or

16    who testified.

17         Q.     Giving your dealings, work experience

18    with Ronald Fountain up to and including the

19    incident that we discussed where you testified

20    against him, which occurred between the arrest

21    and trial, did you have any concerns about his

22    veracity as a witness at the trial of this case

23    involving Michael Davis?
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 1    [ADAM MASON - By Mr. Klein]

 2                        MS. SPENCER:        Object to form.

 3                        MR. FIRTH:       Objection.

 4                        MS. SPENCER:        You can answer that.

 5         Q.     As a supervisor at the department did you

 6    have any concerns about his veracity or

 7    truthfulness?

 8                        MR. FIRTH:       Same objection.

 9         A.     You heard my answer?

10         Q.     No.    I didn't hear it.

11         A.     No.    I did not.

12         Q.     Were any concerns raised by anyone else

13    even if you didn't raise them about whether Ron

14    Fountain was a witness that may damage the case?

15                        MS. SPENCER:        Object to form.

16         A.     It was not my intention.

17         Q.     Okay.    This case ^ was? prosecuted by

18    District Attorney Joel Abelove.               Do you recall

19    that, that he ^ CHECK have the prosecutor in

20    office at the time?

21         A.     I recall that he was the district

22    attorney.      I don't know who the pro- -- who

23    prosecuted the case though.
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 1    [ADAM MASON - By Mr. Klein]

 2         Q.     In the course do you know whether Joel

 3    Abelove had any personal role in the investigation

 4    in this case leading up to the indictment?

 5         A.     I don't know.

 6         Q.     Do you know if he was in the loop on

 7    e-mails, correspondence, meetings, or anything

 8    else?

 9         A.     I don't know.

10         Q.     Okay.    In the People versus Fountain

11    decision that's publicly available online, the

12    defendants in that case moved to disqualify Joel

13    Abelove because they say that he had damaged some

14    cases including Crespo and I'll get you the name

15    of the other one.         Were you aware of any cases

16    that were mishandled by D.A. Abelove?

17                        MS. SPENCER:        Object to the form.

18                        MR. FIRTH:       Objection to form.

19         A.     No.

20         Q.     And when I say aware, either directly or

21    through word of mouth, had you ever heard of any

22    such thing as D.A. Abelove's performance as a

23    D.A. was questioned by either people in the Troy
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 1    [ADAM MASON - By Mr. Klein]

 2    PD or D.A.'s office or anywhere else?

 3                        MR. FIRTH:       Objection to form.

 4         Q.     Were you aware of anything like that?

 5         A.     No.

 6                        MR. FIRTH:       Objection.

 7         Q.     So, this case is a death of an infant

 8    that was handled in part by Detective Fountain

 9    that resulted in an acquittal.               That's some of

10    what happened in Adrian Thomas as well, right?

11    There was a conviction, then a reversal and then

12    an acquittal.        But they are similar in that

13    regard, they both involved children, deaths that

14    resulted in not guilty verdicts?                Would you agree

15    with that generally?

16                        MS. SPENCER:        Object to form.

17         A.     I agree that ultimately they were both

18    found not guilty, but Adrian Thomas was found

19    guilty initially whereas I believe Mike Davis was

20    acquitted.

21         Q.     Right.     So, other than these two cases

22    arising out of the detective squad in that

23    scenario where there's a death of an infant
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 1    [ADAM MASON - By Mr. Klein]

 2    resulting in ultimately a not guilty verdict, are

 3    you aware of any others whether in your time

 4    there or otherwise other than these two cases, or

 5    do I just happen to know about these two and

 6    these are the only ones you know as well?

 7         A.     Any other cases?

 8         Q.     Involving infant deaths where a suspect

 9    was charged and ultimately found not guilty

10    arising out of that detective squad?

11                        MS. SPENCER:        Object to form.

12         A.     I'm not aware.

13         Q.     So you are aware of these two.               So, these

14    two would be the only two that you are aware of?

15         A.     These are the only two that I'm aware of.

16         Q.     Okay.    Now, in the People versus Adrian

17    Thomas decision from the Court of Appeals do you

18    recall generally that that came down in or around

19    February or so of 2014, the year before the death

20    of V.D.?

21         A.     I don't recall when that decision came

22    down.

23         Q.     Okay.    I'll tell you that it was around
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 1    [ADAM MASON - By Mr. Klein]

 2    then and then Adrian's retrial was June of 2014.

 3    In response to that -- and do you recall

 4    generally that decision found that the

 5    interrogation tactics employed by you and Ron

 6    Fountain in the first interview violated certain

 7    rights of Adrian Thomas, including his due

 8    process rights, do you recall that, generally

 9    that was the court's conclusion?

10                        MS. SPENCER:        Object to form.         You

11                can answer.

12         A.     Yes.

13         Q.     Okay.    In response to that decision were

14    any changes, policies, procedures, or guidelines

15    implemented after Adrian Thomas with regard to

16    interrogation tactics from then up until today at

17    Troy PD to your knowledge?

18         A.     No.

19         Q.     Irrespective of the decision have any

20    changes in policy, training, or interrogation

21    procedures changed at any time since that

22    decision came down?

23         A.     No.
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 1    [ADAM MASON - By Mr. Klein]

 2         Q.     Okay.    Has there been any discussion as

 3    to whether there should be any change in

 4    procedures, training or guidelines with regards

 5    to interrogation tactics since that decision that

 6    were ultimately not implemented?

 7         A.     Not to my knowledge.

 8         Q.     Okay.    Did that decision in that case and

 9    the outcome of that case hold you back -- it

10    didn't hold you back from getting promoted to

11    captain, right?

12                        MS. SPENCER:        Object to the form.

13         A.     No.

14         Q.     Okay.    Do you have any plans to retire or

15    are you up for any other promotions or are you

16    captain and on the job for now?

17         A.     I am not up for any other promotions and

18    I have no immediate plan to retire.

19         Q.     Okay.    So, going back to February 26th of

20    2015, can you walk us through your involvement in

21    these events, how you came to hear about it,

22    what, if any, involvement you had and we'll go

23    from there?
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 1    [ADAM MASON - By Mr. Klein]

 2         A.     I was inside the offices of the detective

 3    bureau and I was aware that an incident that

 4    occurred involving an infant death and Detective

 5    Fountain had returned to the detective bureau and

 6    he was having a conversation with the detective

 7    captain, Sprague, at the time, and he had

 8    indicated that -- his conversations with Michael

 9    Davis and the infant's mother, I don't recall her

10    name.

11         Q.     Rebecca Parker.

12         A.     That they hadn't gone very well.                I don't

13    recall the exact terminology.              So, it was

14    suggested by the detective captain that myself

15    and Sergeant Parrow go to the residence and kind

16    of like just repair, if there was any damage

17    caused in the previous interactions with

18    Detective Fountain, just kind of repair that

19    damage and have a conversation.               At which point

20    myself and Sergeant Parrow drove to the Old Judge

21    Manor I believe it's called where they were

22    staying at the time.           We went inside.         I remained

23    in the front room.          I did not have any
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 1    [ADAM MASON - By Mr. Klein]

 2    interaction with either individual.                 And Sergeant

 3    Parrow in a different room I believe had a

 4    conversation with Mike Davis.              Upon the

 5    completion of that conversation, we left and went

 6    back down to the detective bureau.                 And I don't

 7    recall when it was, I had no further involvement

 8    at that point.        And then at some point there was

 9    a discussion about interviewing Mike Davis.                    And

10    there was a -- talk about myself interviewing

11    him.      Then there was a meeting with Dr. Sikirica,

12    the ADA, and myself, Sergeant Parrow, I believe,

13    Detective Fountain was there, and I'm not sure

14    who else was there but I'd refer to that sheet

15    where it was discussed on whatever course was

16    going to happen with the case.               And that was the

17    extent of my involvement.             I did not interview

18    him and I had no further involvement after that.

19         Q.     Okay.    Thank you.       So, this -- going back

20    to the date of V's passing.             When you ^ CHECK say

21    said that ^ CHECK the Fountain was informing

22    Captain Sprague that the conversations had not

23    gone well with Michael Davis and Rebecca Parker,
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 1    [ADAM MASON - By Mr. Klein]

 2    were you present for this conversation or were

 3    you updated on it, briefed on it at a later time?

 4         A.     I don't recall.

 5         Q.     Okay.    And when Captain Sprague suggested

 6    that you and -- was it Sergeant Parrow?

 7         A.     Yes.

 8         Q.     And how do you spell his last name?

 9         A.     P-a-r-r-o-w.

10         Q.     P-a-r-r-o-w.       Parrow.      When you and

11    Sergeant Parrow went to the home was that

12    essentially, did I understand correctly, to

13    smooth over things with Michael Davis or Rebecca

14    or both of them?

15                        MS. SPENCER:        Object to the form.

16         A.     I believe the intention was with both of

17    them.

18         Q.     Okay.    So, if you could just, with as

19    much more specificity as you can recall, what

20    exactly had not gone well and how did Sergeant

21    Parrow go about smoothing it over?

22         A.     I was not a part of that conversation so

23    I honestly don't know.           I don't know what went
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 1    [ADAM MASON - By Mr. Klein]

 2    wrong and then when we went there, like I said, I

 3    was in the front room and Sergeant Parrow was in

 4    a room behind that speaking to Michael Davis and

 5    when he concluded that conversation we left.                     I

 6    wasn't a part of that conversation.                 So, I don't

 7    know what took place.

 8         Q.     Why weren't you, to not crowd in on

 9    Michael or were you standing security in the

10    front or what was the reason, if any, that you

11    were not part of it?

12         A.     It was not because I was standing

13    security.      I think I may have had a conversation

14    when I walked in, I think I may have been

15    speaking to the owner of the building and I was

16    having a casual conversation and I think when

17    Mr. Davis came downstairs that's when

18    Sergeant Parrow moved over and started talking to

19    him.      I made an observation that he was having a

20    conversation with him and just chose not to go

21    over and get involved at that time because it

22    appeared as though they were having a civil

23    conversation and things were going well.
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 1    [ADAM MASON - By Mr. Klein]

 2         Q.     And, to your knowledge, was Michael Davis

 3    a suspect in this crime at that time?

 4         A.     I don't know.

 5         Q.     Was Rebecca Parker a suspect?               Were there

 6    any suspects at that time that you were aware of?

 7    Did you know at this time whether this was a

 8    suspected homicide as opposed to unexplained

 9    death or did you have any sense of what happened

10    here?

11         A.     I guess there was a -- I imagine there

12    would have been a thought that they were

13    suspects, one of the two of them, you know,

14    played a role in the child's death, but I don't

15    recall exactly, you know, having a conversation

16    with anyone articulating what they thought

17    occurred inside that residence.

18         Q.     How long was the meeting with Parrow and

19    Michael Davis to the best of your knowledge, like

20    minutes, an hour, something else?

21         A.     Not an hour, but a few minutes.

22         Q.     Okay.    Other than speaking maybe with the

23    owner of the building, do you recall anything
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 1    [ADAM MASON - By Mr. Klein]

 2    else about what you did or said or spoke with or

 3    to whom you spoke with, if anyone else, during

 4    that time?

 5         A.     No.

 6         Q.     Sergeant Parrow, was he a colleague of

 7    yours at the time; in other words, were you both

 8    detective sergeants at the time or did he have a

 9    different duty or title?

10         A.     We were the same rank.

11         Q.     Was this issue that had to be -- that did

12    not go well, was there concern about how Ron

13    Fountain handled it or was it more about how, the

14    response that was evoked by Michael Davis or what

15    more can you tell me about that situation?

16                        MS. SPENCER:        Object to form.         If

17                you can answer.

18         Q.     Was Ron accusatory to them and they

19    didn't take it well or what was the issue there?

20         A.     I honestly don't recall what the issue

21    was.

22         Q.     Okay.    What is Sergeant Parrow's

23    current -- what was his first name?                 I'm sorry.
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 1    [ADAM MASON - By Mr. Klein]

 2         A.     Michael.

 3         Q.     Is Michael Parrow still with the Troy PD?

 4         A.     He's deceased.

 5         Q.     I'm sorry about that.           When did he pass

 6    away?

 7         A.     Two years ago.

 8         Q.     Do you know if Sergeant Parrow documented

 9    his conversations with Mike Davis?

10         A.     I don't.

11         Q.     Okay.    And then you went back to the

12    detective bureau directly from that Judge Manor,

13    Old Judge Manor, is that fair?

14         A.     Yes.

15         Q.     Okay.    And what did you do -- what, if

16    any, other investigative steps or police action

17    did you take that day, February 26th, other than

18    what you've already described?               Did you do

19    anything else related to this case?

20         A.     No.

21                        MS. SPENCER:        I want to clarify.

22                Did you go to the -- was it February 26th

23                or was it after?
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 1    [ADAM MASON - By Mr. Klein]

 2                        THE WITNESS:        I honestly don't

 3                recall what day it was that I went to

 4                location.

 5                        MS. SPENCER:        Okay.     I just wanted

 6                to clarify.       It didn't seem like the

 7                timeline was right.

 8         Q.     So, when you went to the location do you

 9    know if it was before your meeting with Dr.

10    Sikirica or after that?            Can you time it that

11    way?

12         A.     It was before.

13         Q.     Okay.    Was it within a day or so of your

14    office learning about this death and -- this

15    child's death?

16         A.     When I went to the residence?

17         Q.     Yes.

18         A.     Yes.

19         Q.     Okay.    There's a sign-in crime attendance

20    log that Sergeant Colaneri is signed in on and

21    Detective Fountain, along with Buttafucco and

22    Marble.     Was Sergeant Colaneri part of the

23    detective squad at that time as well?
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 1    [ADAM MASON - By Mr. Klein]

 2         A.     Yes.

 3         Q.     What, if any, role did he play in this

 4    investigation, if you know?

 5         A.     I don't know.

 6         Q.     Okay.    So, just one second, please.               Just

 7    one more sec.        I'm sorry.       I'm just cueing up a

 8    document here.

 9                        MR. KLEIN:       I'm going to show him

10                the 2/27 sign-in sheet, 3/12/15.                I think

11                they are both marked.

12         Q.     So, Captain, I'm going to show you what's

13    been marked as Plaintiff's Exhibit 1.                  I'm going

14    to share my screen with you.

15                And do you see what's marked, what we

16    marked as Plaintiff's Exhibit 1 today, a forensic

17    medical services sign-in sheet, meeting/autopsy?

18    Can you see that?

19         A.     Yes.

20         Q.     And if we scroll down.            These are the

21    apparent attendees at the autopsy on February

22    27th.     Detective Charles McDonald, Detective

23    Fountain, Evidence Tech Buttafucco, Zeigler from
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 1    [ADAM MASON - By Mr. Klein]

 2    the County Department of Health, M.E.'s office,

 3    Colaneri, and the ADA, Ackerman.

 4                Do you remember any discussion whether

 5    you would be present for the autopsy or how it

 6    was determined who would go from your department?

 7         A.     No.

 8         Q.     Okay.    Did you have any discussions with

 9    ADA Ackerman or anyone else about this matter,

10    including any potential charges against Michael

11    Davis?

12         A.     She was present at that meeting that I

13    attended at Dr. Sikirica's office.

14         Q.     Okay.    Other than that one day did you

15    have any other conversations or communications

16    with her about this case?

17         A.     No.

18         Q.     Do you know what Detective Colaneri's

19    role was in this case?

20         A.     No.

21         Q.     McDonald, was he Fountain's partner?

22         A.     I don't know.

23         Q.     Okay.    Now I'm going to show you what's
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 1    [ADAM MASON - By Mr. Klein]

 2    been marked as Plaintiff's Exhibit 2.                  Does this

 3    appear to be the sign-in log from March 12th,

 4    2015, that reflects the meeting that you were

 5    present at?        It's scrolling slowly because it's

 6    enlarged but.

 7         A.     Yes.

 8         Q.     And this includes Dr. Sikirica, ADA

 9    Ackerman, Sergeant Parrow, Detective Sergeant

10    Parrow, Ron Fountain, Tim Colaneri and yourself,

11    correct?

12         A.     Yes.

13         Q.     Anyone else?

14         A.     No.

15         Q.     Okay.    And how -- can you just walk us

16    through how you came to be an attendee at that

17    meeting?      Were you involved in the investigation

18    of this case determining strategy going forward,

19    were you asked to go, you know, as a plus one

20    with, you know, Detective Fountain or what was

21    your role in this?

22         A.     There was a discussion on interviewing

23    Michael Davis and my name was brought up as the
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 1    [ADAM MASON - By Mr. Klein]

 2    person who could potentially interview him.

 3         Q.     Okay.    Michael Davis' -- there was about

 4    a 12-minute recording I'll represent to you on, I

 5    believe it was Colaneri's cell phone taken on

 6    March -- February 26th, the night of the

 7    incident.

 8                Are you familiar, are you aware of that,

 9    even if you haven't seen it, are you aware there

10    was an iPhone or cell phone video taken?

11         A.     No.

12         Q.     Okay.    Then on March 2nd, ten days before

13    this meeting, Ron Fountain did like a two-hour

14    approximately meeting/interview in the room on

15    the third floor of your department in the room

16    with the video that was used for Adrian Thomas.

17    Are you aware he did an interview prior to your

18    meeting on March 12th?

19         A.     I don't recall that.           No.

20         Q.     Okay.    And there wasn't an interview to

21    my knowledge until September 9th, six months

22    later.

23                So, what do you recall discussing
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 1    [ADAM MASON - By Mr. Klein]

 2    specifically whether there would be another

 3    interview by you or Fountain, and what is your

 4    understanding of how that played out?

 5         A.     I was not assigned to the investigation.

 6    I didn't work the investigation.                And there was a

 7    discussion on interviewing him.               And my interview

 8    skills were respected within the office so my

 9    name was brought up.           And being that I really

10    didn't know much about the suspect or much about

11    the investigation, I was not in favor of just

12    stepping in at that point in time to interview,

13    but I was willing to entertain the thought and we

14    had a conversation about it and that's what that

15    particular meeting was.            And there was some

16    discussion about the incident.               I don't recall

17    specifically what information I obtained, but

18    ultimately I decided not to take the lead on that

19    particular interview.

20         Q.     Okay.    Was it your understanding that

21    this was a collaborative team among the medical

22    examiner's office, the D.A.'s office, and your

23    department working together to push forward with
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 1    [ADAM MASON - By Mr. Klein]

 2    this investigation, or was there one particular

 3    person or agency driving it?

 4                        MS. SPENCER:        Object to the form.

 5                        MR. FIRTH:       Same objection.

 6         A.     No.    I agree that it was collaborative.

 7         Q.     And Dr. Sikirica, was he part of the

 8    strategy going forward with who would question

 9    Michael Davis and what kind of information was

10    needed to enhance or further the charges going

11    further?

12                        MR. FIRTH:       Objection.

13                        MS. SPENCER:        Object to the form.

14         A.     I don't believe that's an accurate

15    statement.        I think he was there to provide

16    information, but I don't believe that he played a

17    role in any tactics that were used.

18         Q.     Well, when you say you don't believe, was

19    there a discussion among Sikirica, ADA Ackerman,

20    and your colleagues about what medically -- what

21    was presented, you know, on the autopsy and what

22    information was needed essentially in sum or

23    substance from Michael Davis to proceed with a
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 1    [ADAM MASON - By Mr. Klein]

 2    criminal case?        Was there such a discussion in

 3    that room?

 4                        MS. SPENCER:        Objection.       Object to

 5                form.

 6         A.     I specifically remember Dr. Sikirica

 7    stating that he -- the death was the result of a

 8    homicide.      I don't recall what particular organs

 9    were damaged inside the victim, but I remember

10    him stating that one of the organs was, I think

11    the phrase he used was ground like hamburger meat

12    and that it appeared as though it was caused by

13    someone's large hands squeezing the child.                    I

14    remember sum and substance a conversation similar

15    to that.      So, I think he, you know, his role in

16    the meeting was just providing his medical

17    expertise as to, you know, the cause of the

18    death.     But not necessarily, you know, moving

19    forward who would conduct an interview or any of

20    those particular tactics.

21         Q.     Now, ten days earlier Ron Fountain did an

22    interview with Michael Davis where he had Michael

23    Davis demonstrate how he tried CPR, and that
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 1    [ADAM MASON - By Mr. Klein]

 2    video was shown to Dr. Sikirica and he confirmed

 3    that I believe at the trial.

 4                To your knowledge was the video viewed

 5    with Dr. Sikirica that day or at least given to

 6    him that day?

 7         A.     I don't know if it was given to him or if

 8    he viewed it.        I don't recall that it was

 9    something we reviewed during that particular

10    meeting.

11         Q.     When Dr. Sikirica used the specific term

12    of someone with a big hand, did you all know --

13                        MR. FIRTH:       Brett, I hate to

14                interrupt.       I just lost connection for

15                about 60 seconds.

16                        MR. KLEIN:       Oh.

17                        MR. FIRTH:       I hate to -- I don't

18                know what your line of questioning was

19                but, Sue, is there any way you'd be able

20                to go back and --

21                        MR. KLEIN:       The line of questioning

22                off the record was.

23                        (Whereupon, a discussion was held
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 1    [ADAM MASON - By Mr. Klein]

 2                off the record.)

 3                        (Whereupon, the record was read

 4                back.)

 5                        MR. FIRTH:       Can I have a standing

 6                objection in case I need to assert that?

 7                In other words, I don't want to be

 8                prevented from asserting any objection

 9                based upon my absence from that for about

10                60 seconds, but I also don't want to go

11                through and insert an objection to each

12                question.

13                        MS. SPENCER:        I'm okay with that.

14                        MR. KLEIN:       Sure.     Sure.

15                        MR. FIRTH:       Thank you.

16         Q.     Captain, how did Dr. Sikirica become

17    aware, if you know, that there was a large --

18    withdrawn.

19                Do you recall that Michael Davis was a

20    basketball player with an extremely large frame

21    and particularly large hands, did you know that?

22                        MS. SPENCER:        Object to the form.

23                You can answer if you know.
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 1    [ADAM MASON - By Mr. Klein]

 2         A.     Yes.    I do.

 3         Q.     And was that information shared with Dr.

 4    Sikirica in your presence or did you otherwise

 5    become aware that that information was shared

 6    with Dr. Sikirica?

 7         A.     I don't know if it was specifically

 8    shared with him, but I know it had been mentioned

 9    on a few different occasions so my assumption is

10    that it would have been, that's information that

11    would have been provided to him, but I don't

12    recall anyone specifically telling him that.

13         Q.     Okay.    Who mentioned it on a number of

14    different occasions?

15         A.     It was just talk in the office that he

16    was a basketball player.            There were some

17    basketball sports fans in the office and the fact

18    that he played at a Division 1 college had been

19    spoken of in the office.

20         Q.     And in what way was it spoken of, did

21    anyone respect that, you know, or look him up to

22    look up his stats or in what way was it discussed

23    beyond the fact that he was on a D-1 team?
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 1    [ADAM MASON - By Mr. Klein]

 2         A.     I think exactly what you just said.                 It

 3    was like oh, wow, he was a Division 1 basketball

 4    player, you know, good for him.               And I don't

 5    recall the stats, but I don't know that somebody

 6    did or somebody didn't, but it was, like it was

 7    just like an interesting point of conversation

 8    that he was -- I don't remember where he played.

 9    It was Big East team, Villanova, Seton Hall, or

10    something like that.           I thought.

11         Q.     Seton Hall.

12         A.     Yeah.    So, it was just a point of

13    conversation, something that was interesting that

14    he was Division 1 basketball player.

15         Q.     At March 12th, 2015, at the meeting was

16    there any discussion that -- by anyone that EMTs

17    from the fire department and hospital personnel

18    collectively did potentially hundreds or more

19    chest compressions on V.D. after Michael Davis

20    called 911?       Was there any discussion of that?

21                        MS. SPENCER:        Form.     You can

22                answer.

23         A.     I don't recall hearing that.
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 1    [ADAM MASON - By Mr. Klein]

 2         Q.     Okay.    Did you ever come to hear that at

 3    trial it came out that I think there were like

 4    2,000 chest compressions estimated to have been

 5    done by EMS and hospital personnel?

 6                        MS. SPENCER:        Object to form.         You

 7                can answer.

 8                        MR. FIRTH:       Same objection.

 9         A.     No.

10         Q.     Okay.    Have you ever been involved either

11    as a supervisor or investigator in any case

12    involving CPR-related injuries whether they cause

13    injuries or death?

14         A.     I have not been directly involved in an

15    incident like that.

16         Q.     Was there any discussion about whether

17    these were CPR-related injuries in your presence,

18    whether or not that was concluded as a cause or

19    not, was there any discussion of it?

20         A.     I believe at the -- at that meeting when

21    we discussed the cause of death was that a

22    particular organ in the victim's body was damaged

23    and the way it was damaged it was the opinion of
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 1    [ADAM MASON - By Mr. Klein]

 2    Dr. Sikirica that it could not have been damaged

 3    by CPR.     I don't remember if it was due to the

 4    location, but I remember having that type of a

 5    conversation where he did not believe the damage

 6    to that particular organ was caused by CPR.

 7         Q.     So, in the Michael -- in the Adrian

 8    Thomas case the court found that the medical

 9    course of the case of Dr. Sikirica was driven in

10    part by the narrative from the investigation that

11    he had the video and he factored that in.

12                In this case did Michael Davis having big

13    hands fuel the theory and the narrative here

14    with -- that you guys -- with regard to your

15    discussion with Dr. Sikirica?

16                        MR. FIRTH:       Form objection.

17                        MS. SPENCER:        Objection to form.

18         A.     I don't believe that's accurate.

19         Q.     Well, did you guys view this as like --

20    for lack of a better word -- like a puzzle where

21    you had a guy with huge hands and you had a baby

22    with injuries to a liver, was the discussion

23    focusing on how to implicate Michael Davis in
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 1    [ADAM MASON - By Mr. Klein]

 2    this case?

 3                        MS. SPENCER:        Object to the form.

 4         A.     No.    I think the first point of

 5    information was the type of injury sustained and

 6    that, the damage to that particular organ and

 7    then how that could have been caused.                  And then I

 8    think the fact that Michael Davis was believed to

 9    have big hands came after those initial

10    statements.       I don't think it was hey, he's got

11    big hands and then the rest came.                I think that

12    that was something that came after the discussion

13    of the type of injuries that were sustained.

14         Q.     What is that thought or belief based on?

15         A.     It's my recollection.

16         Q.     Okay.

17         A.     I don't recall someone saying Michael

18    Davis has big hands, therefore, let's find out

19    how these injuries were caused.               I recall

20    discussing the type of injuries and then the fact

21    that Michael Davis had big hands that that

22    matched the type of injury that was sustained.

23         Q.     Okay.    Well, if -- you also don't
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 1    [ADAM MASON - By Mr. Klein]

 2    remember that Ron Fountain did an hour plus long

 3    interview in the third floor video room on March

 4    2nd, ten days before this meeting, you don't

 5    recall that either, correct?

 6                        MS. SPENCER:        Object to form.           I

 7                don't believe that's what he said.

 8         Q.     Were you aware he did that two-hour plus

 9    interview ten days prior to your meeting with Dr.

10    Sikirica?

11         A.     I do not recall that.           I'm assuming that

12    did happen as we are discussing the cases.                    I

13    don't specifically remember him having a two-hour

14    interview with Michael Davis.

15         Q.     So, you are not -- do you have -- I guess

16    my question is:        Do you have any knowledge as to

17    whether Fountain or anyone else transmitted that

18    video or at least described the video to Dr.

19    Sikirica in advance of your meeting on March

20    12th?

21         A.     I wouldn't have been involved in that so,

22    no, I don't.

23         Q.     Okay.    Now, after March 12 -- withdrawn.
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 1    [ADAM MASON - By Mr. Klein]

 2    Did you take any notes at that meeting?

 3         A.     No.

 4         Q.     Okay.    I think you used the term at that

 5    meeting you discussed the future course of the

 6    case, you know, how it would proceed.                  What was

 7    discussed in that regard other than who would

 8    conduct an interview, was anything else discussed

 9    in terms of investigatory action items or

10    anything else?

11         A.     I don't recall.

12         Q.     Okay.    When it was determined that you

13    wouldn't get involved in interviewing Michael

14    Davis, was there literally no further involvement

15    that you had in this case or did you watch the

16    trial?     Did you go down for prep with the D.A.'s

17    office at any time, even if it was for a

18    different witness or anything else?

19         A.     I had no further involvement.

20         Q.     As a supervisor in the department did you

21    come to learn why this case failed, why Michael

22    Davis was found not guilty?

23                        MS. SPENCER:        Object to the form.
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 1    [ADAM MASON - By Mr. Klein]

 2                        MR. FIRTH:       Same objection.

 3         A.     I don't know any specific reason why.                    I

 4    think it was when he was acquitted there was not

 5    enough evidence to convict.

 6         Q.     Well, was there any kind of look back,

 7    whether formally or informally in your

 8    department, even if you didn't do it personally,

 9    to ascertain why this case fell apart?                  In other

10    words, at trial I'll tell you that there was

11    expert testimony that this child, the microscopic

12    study showed that the child didn't bleed out as a

13    result of a rib fracture.             That she was deceased

14    and the rib fracture likely happened after during

15    CPR.

16                Was there ever any type of look back by

17    your department, again whether formally or

18    informally, to determine how this was missed?

19                        MS. SPENCER:        Objection.

20                        MR. FIRTH:       Form.

21         A.     I have no idea.        I wasn't involved in

22    that.

23         Q.     Okay.    Has that ever happened generally
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 1    [ADAM MASON - By Mr. Klein]

 2    in your experience where if a case, a serious

 3    case falls apart at trial where the department

 4    will take a look and, you know, whether just for

 5    future, future prosecutions to be more -- learn

 6    from past mistakes?          Is there any procedure in

 7    place where your department does that?

 8                        MS. SPENCER:        Object to

 9                characterization.

10         A.     I don't know that there's a procedure

11    that states that that type of action will occur,

12    but I would imagine that there are some things

13    that happen and there's meetings afterwards where

14    things are reviewed.           I would imagine those

15    things happen, but I don't know it's due to a

16    policy.     I think it's probably just practice for

17    certain situations.

18         Q.     Right.     Have you ever been involved in

19    any type of, any such meeting like that?

20         A.     Yeah.

21         Q.     Okay.    Did that happen with -- so, in

22    this case you are not aware of it happening?                     If

23    it did, you weren't a part of it?
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 1    [ADAM MASON - By Mr. Klein]

 2         A.     Correct.

 3         Q.     What about Adrian Thomas, were you

 4    involved for that case?

 5                        MS. SPENCER:        Object to form.

 6         A.     There was no meeting after Adrian Thomas

 7    either.

 8         Q.     Okay.    Does your department still work

 9    with Dr. -- Dr. Sikirica still the medical

10    examiner dealing with cases arising out of your

11    department?

12         A.     Yes.

13         Q.     Have there been any other cases that you

14    are aware of other than Thomas and Davis where

15    Dr. Sikirica's cause of death determination was,

16    if not, discredited at least resulted in a not

17    guilty verdict?

18                        MR. FIRTH:       Objection.

19         A.     I have no idea.

20         Q.     Has there been any discussion in the

21    department about any issues with using Dr.

22    Sikirica for cases at any time, either that you

23    were a part of or that you've come to learn here
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 1    [ADAM MASON - By Mr. Klein]

 2    about?

 3         A.     I have no knowledge of that.

 4         Q.     The documentary that you did for Adrian

 5    Thomas's case do you know if there was any type

 6    of -- do you recall doing that?

 7         A.     Yes.

 8         Q.     Okay.    Was there any similar type of

 9    press done in this case, whether print media or

10    anyone else that you or anyone in your department

11    spoke with about this case?

12         A.     I have no idea.

13         Q.     Did you attend the trial in this case?

14         A.     No.

15         Q.     Other than having to go smooth things

16    over in that meeting, you know, going back to

17    Michael Davis' home with Sergeant Parrow, are you

18    aware of any other conduct in this case involving

19    Detective Fountain that didn't go well or was

20    otherwise inappropriate or improper?

21         A.     First it wasn't at his home.              It was at

22    the Old Judge Manor and, second, I'm not aware of

23    anything else, no.
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 1    [ADAM MASON - By Mr. Klein]

 2         Q.     Okay.    Michael Davis described on one or

 3    two occasions Ron Fountain observing him on the

 4    street and coming up to him to talk to him about

 5    this case to see if he has any new information

 6    and things like that, were you ever a part of

 7    that or aware of that?

 8         A.     No.

 9         Q.     Is that something that would be done from

10    time to time, is there anything wrong with that

11    if someone in the department has a case and while

12    there's no formal meeting in custody see a

13    suspect on the street is there any issue speaking

14    to the person spontaneously?

15         A.     No.

16         Q.     Okay.    Is that done from time to time if

17    you happen to see someone on a street or your

18    colleagues happen to see someone on the street

19    have you heard of that happening from time to

20    time?

21         A.     Yes.

22         Q.     Okay.    In the third interview I believe

23    it's been described that Ron Fountain, I think he
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 1    [ADAM MASON - By Mr. Klein]

 2    concedes he used a raised voice, he was

 3    friendlier in the earlier interviews but after

 4    the autopsy he was giving Mr. Davis a harder time

 5    saying, you know, only you can make this right,

 6    you know, you are the only one there, you know,

 7    we know you know what happened, stuff like that.

 8                Did you ever -- was there ever any issue

 9    with Ron Fountain's tactics in this case or in

10    general that were a problem -- that were a known

11    issue within the department?

12                        MS. SPENCER:        Object to form.         If

13                you know.

14         A.     I'm --

15         Q.     Other than what the court ruled in the

16    Adrian Thomas case?

17                        MS. SPENCER:        Object to form.

18         A.     I have no idea.

19         Q.     Was there any discussion that in

20    retrospect it would have been more effective if

21    you had done the interrogation in this case?                     Was

22    there any discussion in that regard?

23         A.     No.
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 1    [ADAM MASON - By Mr. Klein]

 2         Q.     Now, when Ron did it, there would have

 3    been someone -- would the process have been there

 4    would have been someone in the nearby office

 5    monitoring the interview on a computer screen

 6    like you guys did it in Adrian Thomas's case?

 7         A.     I have no idea.

 8         Q.     Is that typical procedure or are there

 9    times when someone interrogates someone in the

10    room and no one is monitoring at the other end?

11         A.     There are times when someone is

12    interviewed in that room and there's no one

13    monitoring on the other side.

14         Q.     Okay.    You don't know who, if anyone,

15    monitored it here, is that fair?

16         A.     I wasn't a part of that process.

17         Q.     Okay.    So, do you have any other

18    knowledge of the investigation, investigatory

19    steps, or any other facts or circumstances

20    involving Michael Davis' case that we haven't

21    asked you about on the record today?

22         A.     No.

23         Q.     Do you have any other knowledge about
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 1    [ADAM MASON - By Mr. Klein]

 2    Ronald Fountain's involvement in this case that

 3    we haven't discussed today yet on the record?

 4                        MS. SPENCER:        Object to the form.

 5                You can answer.

 6         A.     No.

 7         Q.     Do you have any other knowledge as to Dr.

 8    Sikirica's opinions and testimony in this case

 9    that you haven't said; in other words, have you

10    come to learn that it's been called into question

11    or that he's not reliable or anything else, even

12    if you heard it secondhand?

13                        MR. FIRTH:       Objection to form.

14                        MS. SPENCER:        Form.

15         A.     No.

16         Q.     Is there anything else with regard to

17    Joel Abelove supervising this prosecution that

18    you know of that you haven't already said on the

19    record today?

20                        MR. FIRTH:       Objection to form.

21                        MS. SPENCER:        Objection to form.

22         A.     No.

23         Q.     Was there any concern within the Troy PD
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 1    [ADAM MASON - By Mr. Klein]

 2    after Michael Davis' acquittal?               In other words,

 3    was this like a black eye to the department, were

 4    people indifferent about it, how would you

 5    describe how it was received in your detective

 6    squad?

 7                        MS. SPENCER:        Object to form.

 8         A.     I don't recall how it was received.

 9         Q.     How do you think it was?

10                        MS. SPENCER:        Object to the form.

11                You don't have to speculate if you don't

12                know.

13         A.     I don't know.

14         Q.     I'm not asking you speculate, but would

15    you say this was a high profile case?

16         A.     Yes.

17         Q.     So, when there's an outcome that's not --

18    obviously the department was hoping for a

19    conviction, right?

20                        MS. SPENCER:        Object to the form.

21         A.     When there's an arrest made by the Troy

22    Police Department and it goes to trial it's safe

23    to assume that there's hope for a conviction,
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 1    [ADAM MASON - By Mr. Klein]

 2    yes.

 3         Q.     Yeah.    So, I'm not trying to be coy here.

 4    I'm saying in this situation where there's a high

 5    profile prosecution handled by your squad, was

 6    there any kind of blowback internally, whether

 7    officially or just among morale, among your

 8    colleagues or anything else that you can recall?

 9         A.     You are asking me several questions which

10    I don't know the answer to.              Now, if you want me

11    to guess that when there's an acquittal or if

12    somebody beats trial, if there's likely

13    disappointment then sure, I'm assuming there was

14    likely disappointment.           I don't recall the day

15    this case was acquitted and I don't recall the

16    moods of any individuals in the office.                   So, I

17    can't say with any level of certainty that moods

18    were affected in any way, shape or form.

19    However, I would imagine that there was some

20    level of disappointment.            I just can't speak to

21    exactly how.

22         Q.     Thanks for explaining that.

23                        MR. KLEIN:       Just off the record.
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 1    [ADAM MASON - By Mr. Klein]

 2                        (Whereupon, a discussion was held

 3                off the record.)

 4         Q.     There's been testimony that as of the

 5    March -- as of March 2015 Dr. Sikirica did not

 6    arrive at a matter of cause of death for several

 7    months until I believe September or so, August or

 8    September of that year.            Is it your testimony

 9    that he opined as to a manner and cause of death

10    at your meeting in March?

11                        MS. SPENCER:        Object to form.

12         Q.     Or was it being discussed, you know,

13    theorized at the meeting what could have

14    happened?

15                        MS. SPENCER:        Object to form.

16         A.     I don't know when an official -- it was

17    officially documented as to the manner and cause

18    of death.      It was my understanding that as it was

19    discussed in that meeting that it was believed

20    that the -- that it was a homicide.

21         Q.     And is it your understanding that that

22    belief was based on a combination of Ron

23    Fountain's interview and Dr. Sikirica's findings
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 1    [ADAM MASON - By Mr. Klein]

 2    merged together?         Did that form the basis of that

 3    belief or something else?

 4                        MR. FIRTH:       Objection to form.

 5                        MS. SPENCER:        Object to form.

 6         A.     As we sit here today I don't recall what

 7    information was gained during the interview that

 8    Ron Fountain conducted.            I'm sure at the point in

 9    time of that meeting that I was aware that he,

10    that he conducted an interview, but I don't

11    recall specifically as we sit here today any

12    information that he obtained during the course of

13    that interview that was discussed in that

14    particular meeting.          I do, however, recall Dr.

15    Sikirica explaining what his observations were in

16    regards to the injury of the victim and I recall

17    that being something that was considered.

18         Q.     Did you ever look at the autopsy

19    photos --

20         A.     No.

21         Q.     -- that were in the report?

22                        MR. KLEIN:       Okay.     Captain Mason, I

23                want to thank you for your time and
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 1    [ADAM MASON - By Mr. Klein]

 2                cooperation.       Thanks for sitting through

 3                this.     Have a good day.

 4                        MR. FIRTH:       Captain, no questions

 5                from me.      Thank you.

 6                        MS. SPENCER:        All right.       Thank

 7                you.

 8                        (Whereupon, the testimony of ADAM

 9                MASON concluded at 2:35 p.m.)

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 2

 3        STATE OF NEW YORK

 4        COUNTY OF ____________________

 5

 6

 7                I have read the foregoing record of my

 8   testimony taken at the time and place noted in the

 9   heading hereof, and I do hereby acknowledge it to

10   be a true and correct transcript of same.

11

12

13

14                      ___________________________

15                      ADAM MASON

16

17

18        Sworn to before me this

19        ______ day of ____________, 20__.

20        __________________________________

21        NOTARY PUBLIC

22

23
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 2                      C E R T I F I C A T I O N

 3

 4                I, SUSAN FLORIO, Registered Professional

 5   Reporter and Notary Public in and for the State of

 6   New York, do hereby certify that the foregoing is a

 7   true, complete and accurate transcript to the best

 8   of my knowledge, skill and ability on the date and

 9   place hereinbefore set forth.

10                I FURTHER CERTIFY that I am not related

11   to or employed by any of the parties to the action

12   in which the proceedings were taken, or any

13   attorney or counsel employed in this action, nor am

14   I financially interested in the case.

15                IN WITNESS WHEREOF, I have hereunto set

16   my hand this 13th day of June, 2021.

17

18

19                           ______/Susan Florio, RPR/
                             _____________________
20                                  SUSAN FLORIO, RPR

21                      (The foregoing certification of
                  this transcript does not apply to any
22                reproduction of the same by any means
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23                supervision of the certifying reporter.)
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     So, just briefly what was your involvement     17
 4   in that matter because it relates to the
     timeline here, it overlaps with that time that
 5   Michael Davis was arrested. Were you present
     when that recording was reviewed, transmitted,
 6   discussed in any way? What was your role in
     that incident?
 7

 8   Did Ron Fountain violate the rules and         19
     regulations of the Troy PD when he put a 911
 9   call about a mayoral candidate's family on his
     phone and then took it home so someone could
10   copy it?

11   And how would you characterize your            20
     relationship with him since that case, has
12   it been contentious, no contact whatsoever
     other than running into him or something else?
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